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                 EXHIBIT B
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                                                                                                                  ATTORNEYS AT LAW
                                                                                                                  222 N. LaSalle, Suite 300
                                                                                                                  Chicago, IL 60601

                                                                                                                  T 312-704-3000
                                                                                                                  F 312-704-3001
                                                                                                                  www.hinshawlaw.com




                                                            October 11, 2011

Via Email Transmission and Facsimile

Lori E. Lightfoot
Mayer Brown LLP
71 South Wacker Drive, Suite 4471
Chicago, Illinois 606060

          Re:          Subpoena Issued in 11 C 05065 to Congressman Jerry Costello

Dear Ms. Lightfoot:

        Pursuant to our discussion yesterday and Rule 45(c)(2)(B), the following serves as
objections to the subpoena request directed at Congressman Costello (“Respondent”):

          Objections Applicable to Requests 1-9

        Each Request for Production relates to “the Proposed Congressional Plan.” Therefore, as
to each request, Respondent objects to documents and/or material exchanged among, or
reflecting communications among, Democratic Congressional Campaign Committee (DCCC)
members (including Members of Congress and their aides), agents, consultants and/or attorneys
relating to Illinois congressional redistricting. In support of these objections, Respondent
specifically adopts those objections and arguments made by the DCCC in both its
correspondence to you of August 26, 2011 and in its response to plaintiff’s motion to compel the
DCCC.

         Respondent also objects to any documents or material reflecting information exchanged
among, or reflecting communications among, Congressman Costello and his aides regarding
Illinois congressional redistricting. In support of said objection, Respondent again adopts those
objections raised by the DCCC and states that such information is protected by the legislative
immunity and deliberative process privileges.

       Subject to and without waiver, we discussed that I have documents that fall into the
above categories, but at this time you do not require a privilege log. We understand that you
may choose to insist upon a log at a later date.

          Please feel free to call me with any questions.




Arizona   California   Florida   Illinois   Indiana   Massachusetts   Minnesota   Missouri   New York   Oregon   Rhode Island   Wisconsin
                                                                                                    130185217v1 7048395 ADMINISTRA
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October 11, 2011
Page 2


                                     Regards,

                         HINSHAW & CULBERTSON LLP

                               /s/ Robert T. Shannon

                                  Robert T. Shannon
                                 Direct 312-704-3901
                             rshannon@hinshawlaw.com




                                                           130185217v1 7048395 ADMINISTRA
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                 EXHIBIT C
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Helfrich, Gretchen
From:                    Douglas, Dana S.
Sent:                    Monday, October 24, 2011 7:07 PM
To:                      Helfrich, Gretchen
Subject:                 FW: Activity in Case 1:11-mc-00514-DAR COMMITTEE FOR A FAIR AND BALANCED MAP
                         et al v. DEMOCRATIC CONGRESSIONAL CAMPAIGN COMMITTEE Order on Motion for
                         Leave to File




From: DCD_ECFNotice@dcd.uscourts.gov [mailto:DCD_ECFNotice@dcd.uscourts.gov]
Sent: Friday, October 21, 2011 5:31 PM
To: DCD_ECFNotice@dcd.uscourts.gov
Subject: Activity in Case 1:11-mc-00514-DAR COMMITTEE FOR A FAIR AND BALANCED MAP et al v. DEMOCRATIC
CONGRESSIONAL CAMPAIGN COMMITTEE Order on Motion for Leave to File



This is an automatic e-mail message generated by the CM/ECF system. Please DO NOT RESPOND to
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viewing. However, if the referenced document is a transcript, the free copy and 30 page limit do not
apply.

                                            U.S. District Court

                                            District of Columbia

Notice of Electronic Filing

The following transaction was entered on 10/21/2011 at 6:30 PM and filed on 10/21/2011
                  COMMITTEE FOR A FAIR AND BALANCED MAP et al v. DEMOCRATIC
Case Name:
                  CONGRESSIONAL CAMPAIGN COMMITTEE
Case Number: 1:11-mc-00514-DAR
Filer:
Document
                  No document attached
Number:

Docket Text:
MINUTE ORDER by Magistrate Judge Deborah A. Robinson on 10/21/2011: For the reasons set
forth on the record, Non-Party Democratic Congressional Campaign Committee's Motion for
Leave to File Privilege Log Under Seal (Document No.[11]) is DENIED WITHOUT PREJUDICE. It
is FURTHER ORDERED that Respondent, in accordance with its agreement to do so and
without waiving any applicable privileges, shall produce the documents described by its
counsel on the record by Tuesday, October 25, 2011. It is FURTHER ORDERED that the parties
shall continue to meet and confer regarding the scope of the subpoena (already narrowed by
Petitioners in the manner described by their counsel on the record at the hearing), and jointly

                                                      1
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file a status report regarding their efforts by no later than November 2, 2011. It is FURTHER
ORDERED that a status conference is scheduled for 9:30 a.m. on Friday, November 4, 2011.
(lcdar3)


1:11-mc-00514-DAR Notice has been electronically mailed to:

Barry J. Reingold breingold@perkinscoie.com

Anthony Michael Alexis, Sr aalexis@mayerbrown.com

Brian G. Svoboda bsvoboda@perkinscoie.com

Dana S. Douglas dsdouglas@mayerbrown.com

1:11-mc-00514-DAR Notice will be delivered by other means to::




                                                    2
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                EXHIBIT D
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                                   1019COSTELLO.txt

                                                                        1




              1                ROUGH DRAFT-UNCERTIFIED COPY
              2           THE FOLLOWING FILE IS NOT AN OFFICIAL
              3         TRANSCRIPT.   IT IS INTENDED ONLY TO AID
              4        IN CASE PREPARATION.    THE FINAL TRANSCRIPT

              5      WILL BE DIFFERENT, BOTH IN FORM AND SUBSTANCE,

              6             FROM THIS ROUGH DRAFT TRANSLATION.
              7         YOU MAY SEE ERRORS AND OMISSIONS DURING
              8           THE REALTIME TRANSLATION    THIS IS NOT

              9         AN UNUSUAL PROCESS AND THESE ERRORS AND
             10         OMISSIONS WILL BE CORRECTED ON THE FINAL

             11      TRANSCRIPT.   PLEASE DO NOT TRY TO BRING THESE

             12      DISCREPANCIES TO THE ATTENTION OF THE REPORTER

             13            DURING THE COURSE OF THE DEPOSITION.

             14
             15
             16                UNOFFICIAL DRAFT TRANSCRIPT

             17         THIS IS AN UNOFFICIAL DRAFT TRANSCRIPT!
             18

             19
             20   This transcript has not been checked, proofread or

             21   corrected.   It is a draft transcript, NOT a
             22   certified transcript.   As such, it may contain
             23   computer-generated mistranslations of stenotype

             24   code, resulting in inaccurate or nonsensical word
             25   combinations, or untranslated stenotype symbols
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                                   1019COSTELLO.txt

              1                ROUGH DRAFT-UNCERTIFIED COPY
              2   which cannot be deciphered by non-stenotypists.

              3   Corrections will be made in the preparation of the
              4   certified transcript, resulting in differences in
              5   page and line numbers, punctuation, and formatting.
              6        THIS DRAFT TRANSCRIPT IS SUPPLIED TO YOU ON
              7   THE CONDITION THAT UPON RECEIPT OF THE CERTIFIED

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             12   VERBATIM CITATION OF TESTIMONY.
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              1                ROUGH DRAFT-UNCERTIFIED COPY

              2        THE VIDEOGRAPHER:   Good morning.   We are going

                                        Page 2
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                                  1019COSTELLO.txt
              3   on the video record at 11:43 a.m.
              4               This is Tape 1 to the videotaped
              5   deposition of Congressman Jerry Costello in the

              6   matter of the Committee for a Fair and Balanced
              7   Map, et al. versus Illinois State Board of
              8   Elections, et al.   It's being heard before the U.S.
              9   District Court for the Northern District of
             10   Illinois, Eastern Division, case number

             11   1:11-CV-05065.

             12               This deposition is being held at 71
             13   South Wacker Drive, Chicago, Illinois, on October
             14   19, 2011.

             15               My name is Joseph Elsey and I'm the
             16   videographer.    The court is Susan Today.

             17               Counsel, will you please introduce

             18   yourselves and affiliations and the witness will be

             19   sworn.

             20        MR. BRUCE:   Devon Bruce.   D-e-v-o-n Bruce, on
             21   behalf of the defendants and State of Illinois.
             22        MR. ROSENBLATT:   Jon Rosenblatt on behalf of

             23   defendants.
             24        MR. SHANNON:   Robert Shannon representing

             25   Congressman Jerry Costello.
•
                                                                         4




              1                 ROUGH DRAFT-UNCERTIFIED COPY
              2        MS. LIGHTFOOT:    Lori Lightfoot representing

              3   the plaintiffs in this action.
              4                    (WHEREUPON, the witness was duly

              5                     sworn.)

                                         Page 3
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                                   1019COSTELLO.txt
              6        Q.     Good morning, Congressman.
              7        A.     Good morning.
              8        Q.     As I had mentioned before we went on the

              9   record, we will try to get you in and out of here
             10   as quickly as possible.     Your counsel and I have
             11   had several conversations leading up to today's
             12   deposition.   I think he wants to put a point on the
             13   record and then I will respond and then we can

             14   actually get to the substance of the deposition

             15   itself.
             16               So go ahead, Mr. Shannon.
             17        MR. SHANNON:   Certainly.   Thank you.

             18               As a follow-up to our communications and
             19   in connection with the subpoena and the

             20   accompanying rider issued to Congressman Costello,

             21   we have objected to any materials and

             22   communications that would reflect conversations

             23   with -- between the Congressman and other fellow
             24   members of Federal Congress, any DCCC
             25   representatives or agents, including attorneys or
•
                                                                        5




              1                 ROUGH DRAFT-UNCERTIFIED COPY
              2   consultants, which would include the NCEC in

              3   connection with the Illinois congressional
              4   redistricting for the reasons reflected in the -- I
              5   guess the most efficient way to handle it is for

              6   the reasons reflected in the DCCC response to
              7   plaintiff's motion to compel filed I believe in an

              8   ancillary proceeding which I understand to still be

                                        Page 4
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                                   1019COSTELLO.txt
              9   pending.
             10               We also, as reflected in prior
             11   communication, will be objecting and instructing

             12   the Congressman not to offer any testimony relative
             13   to any material or communications that he may have
             14   had with his own congressional aides, again for the
             15   reasons reflected in the DCCC response to the
             16   pending motion to compel and the ancillary

             17   proceeding as well as deliberative process and

             18   legislative immunity and legislative privileges.
             19        MS. LIGHTFOOT:   All right.    Just one point of
             20   clarification, counsel.

             21        MR. SHANNON:   Certainly.
             22        MS. LIGHTFOOT:   I wanted to make sure that you

             23   didn't intend to go as broadly as you did.

             24               You said that one of the objections that

             25   you have is to any communications that the
•
                                                                          6




              1                ROUGH DRAFT-UNCERTIFIED COPY
              2   Congressman might have with any other member of
              3   Congress.

              4               Did you mean to say it that broadly?
              5        MR. SHANNON:   I meant only Democratic members

              6   of Congress.
              7        MS. LIGHTFOOT:   Fair enough.   You are aware
              8   obviously that we have indicated to you that we,

              9   one, don't believe that there is any privilege that
             10   the Congressman may assert on the basis of the

             11   topics that are going to be covered here today.      We

                                        Page 5
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                                  1019COSTELLO.txt
             12   are not going to be asking him specific questions
             13   that impinge about his duties and responsibilities
             14   as a federal member of Congress as opposed to his

             15   involvement in the Illinois redistricting.
             16               So on that basis we don't think he has
             17   got any privilege.   We don't believe and as we have
             18   reflected in our court papers with the DCCC that
             19   any privilege attaches to them and, frankly, that

             20   we are struggling to see the nexus between whatever

             21   First Amendment issue, which is what they have
             22   asserted, might be relevant to them, how that would
             23   apply to the congressman.

             24               And then finally, as you know, we
             25   believe that to the extent that there was any
•
                                                                        7




              1                ROUGH DRAFT-UNCERTIFIED COPY
              2   privilege between the DCCC and the Congressman, he

              3   has waived that by virtue of the fact that he has

              4   disclosed certain communications DCCC to third
              5   parties that are clearly outside the scope of the
              6   ambit of the DCCC.

              7               What we have agreed is that I believe --
              8   and correct me if I'm wrong -- I'm going to ask

              9   certain questions.   To the extent that you are
             10   going to object or instruct him not to answer,
             11   we'll proceed by that and then we'll let the court

             12   determine at some later time.
             13               It's certainly not my intent to have to

             14   bring the Congressman back but obviously I've got

                                        Page 6
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                                  1019COSTELLO.txt
             18   we agree to disagreed --
             19        MS. LIGHTFOOT:    That's right.
             20        MR. SHANNON:     -- that you are reserving your

             21   right to this material, we are reserving our right
             22   to object, you are reserving the right to,
             23   depending on how things play out, re-request the
             24   Congressman's deposition and we are reserving our
             25   right to consider that and reserving our right to
•
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              1                ROUGH DRAFT-UNCERTIFIED COPY

              2   object.

              3               And as it relates to the documents, yes,

              4   we do have the documents.    The only caveat I would
              5   say is that while you indicated that they are

              6   responsive, I think what I would state for the

              7   record is that subject perhaps to any relevancy
              8   arguments that I don't want to waive, we do have

              9   documents that are potentially responsive that we

             10   have asserted the privilege objections on.
             11        MS. LIGHTFOOT:    Fair enough.
             12   BY MS. LIGHTFOOT:

             13        Q.     Congressman, with the indulgence of your
             14   counsel, I'm going to try to quickly move through

             15   your background so that we can get on to more
             16   substantive matters.
             17               I took the liberty of pulling off your

             18   bio from the National Journal's Almanac of American
             19   Politics.   And let me just see if they've got it

             20   right.

                                         Page 8
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                                   1019COSTELLO.txt
             21               It looks like you began your political
             22   career in -- let's see.    Looks like 1980.   Is that
             23   correct?   As the chairman of the St. Clair County

             24   Board of Supervisors.
             25        A.     That's correct.     In December 1980.
•
                                                                        10




              1                ROUGH DRAFT-UNCERTIFIED COPY
              2        Q.     And you held that position from 1980

              3   through 1988; is that correct?
              4        A.     Correct.

              5        Q.     And then was that the point that you

              6   then became a member of Congress?

              7        A.     It was.
              8        Q.     And you represent roughly the kind of

              9   Belleville, deep south area of the State of

             10   Illinois; is that correct?
             11        A.     Southwestern and southern Illinois.

             12        Q.     Okay.   Is that essentially the area that

             13   you have represented for -- since the time you have
             14   been in Congress?
             15        A.     Essentially, yes.

             16        Q.     Again, tell me -- remind me what year
             17   you actually started in Congress.

             18        A.     August the 11th of 1988.
             19        Q.     Were you appointed to fill the unexpired
             20   term of Congressman Price?

             21        A.     I was not.   We had a special election.
             22   I was elected.

             23        Q.     Okay.   Fair enough.   Let me then turn to

                                         Page 9
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                                   1019COSTELLO.txt
              9        A.     That's correct.
             10        Q.     You have a second conversation with him
             11   that you described that's roughly 30 days later,

             12   correct?
             13        A.     A maximum of 30 days.
             14        Q.     Okay.
             15        A.     It may have been within a matter of a
             16   week, but it was no longer than 30 days.

             17        Q.     This contact that you had with members

             18   of the Democratic delegation, did that occur in
             19   between those two Shimkus conversations or did it
             20   occur afterwards or some mix?

             21        A.     I don't remember.    I really don't.
             22        Q.     Okay.   Fair enough.   I'm going to take

             23   these one by one.    And I assume that your counsel

             24   will object, but I'm going to ask you anyway.

             25               What was your conversation with --
•
                                                                         27




              1                ROUGH DRAFT-UNCERTIFIED COPY
              2   again, I think you described it, but these were
              3   conversations that took place roughly on the House

              4   floor as you were seeing members, is that correct,
              5   or did they take place other places?

              6        MR. BRUCE:     Object to the form.
              7        MR. SHANNON:    You can describe the location.
              8        MS. LIGHTFOOT:    I mean, I can go one by one.

              9   BY THE WITNESS:
             10        A.     Sure.   They took place on the House

             11   floor and also in a meeting with all -- I don't

                                         Page 24
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                                  1019COSTELLO.txt
             12   know if all eight democrats were there but the
             13   majority of them were there in the meeting.
             14   BY MS. LIGHTFOOT:

             15        Q.      And we'll get to the meeting in a
             16   moment.
             17        A.      Sure.
             18        Q.      Let's stick right now to the
             19   conversations that you had on the House floor and

             20   if you -- I'm going to ask you about each of the

             21   members that you identified.       If the conversation
             22   did not take place on the House floor, I want you
             23   to just tell me that.

             24                Congressman Lipinski, was that a
             25   conversation on the House floor?
•
                                                                           28




              1                ROUGH DRAFT-UNCERTIFIED COPY
              2        MR. BRUCE:      Lori, I'll just get a standing

              3   objection if you agree to it as to all of these

              4   conversations with Democratic congressmen on
              5   relevancy.
              6        MS. LIGHTFOOT:     Sure.     I agree to you

              7   interposing the standing objection, yes.
              8        MR. SHANNON:     I think the question was did it

              9   occur on the House floor with Congressman Lipinski.
             10        MS. LIGHTFOOT:     That's right.
             11   BY THE WITNESS:

             12        A.      There were multiple conversations and
             13   all of them occurred on the House floor and there

             14   was a meeting as well.

                                          Page 25
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                                  1019COSTELLO.txt
             15   BY MS. LIGHTFOOT:
             16          Q.   I'll ask about you about the meeting
             17   separately.    But with respect to Congressman

             18   Lipinski, what did you say and what did he say to
             19   you?
             20          MR. SHANNON:   I will advise you not to testify
             21   or offer testimony reflecting conversations with a
             22   fellow member of Congress.        And if you agree, you

             23   can simply reflect "on advice of counsel I refuse

             24   to answer."
             25          MS. LIGHTFOOT:   And again, I assume that your
•
                                                                            29




              1                 ROUGH DRAFT-UNCERTIFIED COPY
              2   instruction pertains to a Democratic member of

              3   Congress only.

              4          MR. SHANNON:   That's correct.    Thank you.
              5   BY MS. LIGHTFOOT:

              6          Q.   Are you going to abide by your counsel's

              7   instruction?
              8          A.   I am.
              9          Q.   Congressman Schakowsky, what did you say

             10   to her and what did she say to you?
             11          MR. SHANNON:   Same instruction.

             12   BY THE WITNESS:
             13          A.   I agree.    Or I --
             14          MR. SHANNON:   You will abide by my

             15   instruction.
             16          THE WITNESS:   Okay.

             17   BY MS. LIGHTFOOT:

                                          Page 26
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                                   1019COSTELLO.txt
             18        Q.     Okay. Congressman Jackson, what did he
             19   say to you and what did you say to him?
             20        MR. SHANNON:   Same instruction.

             21   BY THE WITNESS:
             22        A.     I will abide by my counsel's advice.
             23   BY MS. LIGHTFOOT:
             24        Q.     Congressman Rush?
             25        MR. SHANNON:   Same instruction.
•
                                                                       30




              1                ROUGH DRAFT-UNCERTIFIED COPY

              2   BY MS. LIGHTFOOT:

              3        Q.     Just so the record is clear, for all

              4   these folks, I'm going to ask you what did you say
              5   to him or her and what they say to you.

              6               So Congressman Rush, what did you say to

              7   him and what did he say to you?
              8        MR. SHANNON:   Same instruction.

              9   BY THE WITNESS:

             10        A.     And I will abide by my counsel's advice.
             11   BY MS. LIGHTFOOT:
             12        Q.     Congressman Gutierrez, what did you say

             13   to him and what did he say to?
             14        MR. SHANNON:   Same instruction.

             15   BY THE WITNESS:
             16        A.     I will abide by my counsel's advice.
             17   BY MS. LIGHTFOOT:

             18        Q.     And Congressman Davis, what did you say
             19   to him and what did he say to you?

             20        MR. SHANNON:   Same instruction.

                                        Page 27
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                                    1019COSTELLO.txt
             21   BY THE WITNESS:
             22        A.      I will abide by my counsel's advice.
             23   BY MS. LIGHTFOOT:

             24        Q.      Did there come a point in time where you
             25   reported back to Congressman Shimkus what you had
•
                                                                       31




              1                ROUGH DRAFT-UNCERTIFIED COPY
              2   learned from your Democratic colleagues as to

              3   whether or not there was any interest in a
              4   bipartisan solution to the congressional

              5   redistricting issue?

              6        MR. SHANNON:     Objection to form.

              7                You can answer subject to my prior
              8   instructions.

              9   BY THE WITNESS:

             10        A.      I did.
             11   BY MS. LIGHTFOOT:

             12        Q.      And was that before or after the meeting

             13   that you indicated took place among the -- some of
             14   members of Democratic delegation?
             15        A.      I don't recall if it was before or

             16   after.
             17        Q.      And where did that subsequent

             18   consideration with Congressman Shimkus take place?
             19        A.      I think it took place on the floor of
             20   the House.

             21        Q.      Was anybody else a part of that
             22   conversation aside from you and Congressman

             23   Shimkus?

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                                   1019COSTELLO.txt
             24          A.   Not that I recall.
             25          Q.   What did you say to him and what did he
•
                                                                       32




              1                 ROUGH DRAFT-UNCERTIFIED COPY
              2   say to you?
              3          A.   I told him that there was an interest on

              4   the part of the Democratic members in attempting to
              5   reach a bipartisan agreement.

              6          Q.   And what, if anything, did he say to
              7   you?

              8          A.   He indicated to me again that he hoped

              9   that we could try and reach an agreement.

             10          Q.   Did the two of you in that conversation
             11   discuss anything in terms of next steps to move the

             12   conversation along from conversation to something

             13   that might bear fruit?
             14          MR. SHANNON:   Objection to the form.

             15               You can answer.

             16          MR. BRUCE:   Join.
             17   BY THE WITNESS:
             18          A.   We did.

             19   BY MS. LIGHTFOOT:
             20          Q.   Okay.     And what did you discuss?

             21          A.   We discussed his -- what his members,
             22   the Republican members of the delegation, what they
             23   thought would be a fair map and what they wanted to

             24   do next, the steps that they wanted to take.
             25          Q.   And what, if anything, specifically did
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              2   on a map.
              3        Q.     Did you communicate that interest to the
              4   people that were gathered there?

              5        A.     I did.

              6        Q.     By the way, do you know why it was that
              7   Congressman Bill Lipinski was present for that
              8   meeting?

              9        MR. BRUCE:   Objection; foundation, relevancy.
             10        MR. SHANNON:    Are you done?

             11        MR. BRUCE:   I'm done.

             12        MR. SHANNON:    Foundation, speculation.

             13               If you know, you can answer.

             14   BY THE WITNESS:
             15        A.     I requested that he be -- that he attend
             16   the meeting.

             17   BY MS. LIGHTFOOT:
             18        Q.     And why did you request that

             19   Congressman Lipinski -- former Congressman Lipinski
             20   be present?

             21        A.     Because ten years ago when we went
             22   through this --
             23        MR. SHANNON:    I'm going to caution you to the

             24   extent this affects your answer to not testify as
             25   to any conversations that you might have had with
•
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              2   Congress Lipinski substantively.

              3        MS. LIGHTFOOT:   Former Congressman Bill
              4   Lipinski?
              5        MR. SHANNON:   Yes.
              6        MS. LIGHTFOOT:   You are asserting a privilege
              7   as to a conversation that he had with former

              8   Congressman Bill Lipinski.

              9        MR. SHANNON:   Right.   Well, there's two
             10   things.   The answer is yes under the same arguments
             11   reflected in the DCCC filing.

             12               But I believe if you look back at the
             13   record he was about to discuss communications that

             14   may have occurred ten years ago.

             15        MS. LIGHTFOOT:   Fair enough.

             16        MR. SHANNON:   Okay.

             17   BY MS. LIGHTFOOT:
             18        Q.     Congressman, are you aware of whether or
             19   not Congressman Bill Lipinski, former Congressman

             20   Bill Lipinski, is a current member of the DCCC?
             21        MR. BRUCE:   Objection; form.

             22        MR. SHANNON:   Objection; foundation,
             23   speculation.

             24               If you know.
             25
•
                                                                       45




              1                ROUGH DRAFT-UNCERTIFIED COPY

              2   BY THE WITNESS:

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                                   1019COSTELLO.txt
              3        A.     I don't know. I assume he is but I
              4   don't know.
              5   BY MS. LIGHTFOOT:

              6        Q.     And what's the basis of your assumption
              7   that former Congressman Bill Lipinski is a current
              8   member of the DCCC?
              9        MR. SHANNON:   Foundation, form.
             10               You can answer.

             11   BY THE WITNESS:

             12        A.     Many former members continue to belong
             13   to the DCCC.
             14   BY MS. LIGHTFOOT:

             15        Q.     As you sit here today, do you have any
             16   knowledge one way or the other as to whether or not

             17   foreigner Congressman Bill Lipinski is a member

             18   of -- current member of the DCCC?

             19        A.     I do not.

             20        Q.     Do you know why it was that congressman
             21   Dan Lipinski was present for this meeting in
             22   Chicago?

             23        MR. BRUCE:   Objection; foundation.
             24        MR. SHANNON:   Foundation and speculation.

             25               You can answer.
•
                                                                       46




              1                 ROUGH DRAFT-UNCERTIFIED COPY
              2   BY THE WITNESS:

              3        A.     I do not.
              4   BY MS. LIGHTFOOT:

              5        Q.     Let me take you back then to what was

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                                    1019COSTELLO.txt
              9          Q.    What, if anything, did -- did anyone
             10   respond to your comments?
             11          MR. BRUCE:   Objection.     Again, out-of-court

             12   statement, hearsay, relevancy.
             13                Go ahead.
             14   BY THE WITNESS:
             15          A.    President Cullerton did.
             16   BY MS. LIGHTFOOT:

             17          Q.    What, if anything, did President

             18   Cullerton say?
             19          MR. BRUCE:   Standing objection.
             20   BY THE WITNESS:

             21          A.    He said that any recommendations, input
             22   that we wanted to have, that he and others would be

             23   willing to listen but that committees had already

             24   been established and that they had a responsibility

             25   and had already been working on a congressional
•
                                                                           48




              1                ROUGH DRAFT-UNCERTIFIED COPY
              2   map.
              3                But he was willing to listen to us and

              4   basically said, you know, you can continue to
              5   present whatever you want to present to us but we

              6   have committees that are already working on the
              7   congressional map.
              8   BY MS. LIGHTFOOT:

              9          Q.    And what, if anything, did you say in
             10   response to those comments from President

             11   Cullerton?

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                                    1019COSTELLO.txt
             12        A.      Well, I said that I felt that it was in
             13   everyone's interest to try and reach a bipartisan
             14   agreement.

             15        Q.      Did anyone else respond to your initial
             16   comments aside from President Cullerton?
             17        A.      I don't know about the initial comments
             18   but former Congressman Bill Lipinski expressed the
             19   same interest and felt that we should try and avoid

             20   litigation and ending up in the court system.

             21        Q.      Did Speaker Madigan talk at all during
             22   that meeting?
             23        A.      He talked about the weather and politics

             24   and what was going in the General Assembly but did
             25   not offer an opinion.    I can't recall anything that
•
                                                                        49




              1                ROUGH DRAFT-UNCERTIFIED COPY
              2   he may have mentioned about the congressional map

              3   or the process.

              4        Q.      He was sphinx-like?   That was a joke.
              5        MR. SHANNON:   Objection to the form.
              6        MR. BRUCE:   Lori, could we take a quick break?

              7        MS. LIGHTFOOT:   Yes.   Absolutely.
              8        THE VIDEOGRAPHER:   Going off the video record

              9   at 12:27 p.m.   This is the end of tape No. 1.
             10                   (WHEREUPON, a recess was had
             11                     from 12:27 p.m. to 12:34 p.m.)

             12                   (WHEREUPON, Mr. Devon Bruce exited
             13                     the deposition proceedings.)

             14        THE VIDEOGRAPHER:   Back on the video record at

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                 EXHIBIT E
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                      THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLUMBIA


COMMITTEE FOR A FAIR AND                   )
BALANCED MAP, JUDY BIGGERT,                )
ROBERT J. DOLD, RANDY HULTGREN,            )
ADAM KINZINGER, DONALD MANZULLO,           )
PETER J. ROSKAM, BOBBY SCHILLING,          )
AARON SCHOCK, JOHN M. SHIMKUS, JOE         )     Case No. 1:11-mc-00514-DAR
WALSH, RALPH RANGEL, LOU                   )
SANDOVAL, LUIS SANABRIA, MICHELLE          )
CABALLERO, EDMUND BREZINSKI, and           )
LAURA WAXWEILER,                           )     Civil Action No. 1:11-cv-05065
                                           )     (Pending in the U.S. District
                Plaintiffs,                )     Court for the Northern District of
v.                                         )     Illinois)
                                           )
ILLINOIS STATE BOARD OF ELECTIONS,         )
WILLIAM M. MCGUFFAGE, JESSE R.             )
SMART, BRYAN A. SCHNEIDER, BETTY J.        )
COFFRIN, HAROLD D. BYERS, JUDITH C.        )
RICE, CHARLES W. SCHOLZ, and ERNEST        )
L. GOWEN,                                  )
                                           )
                Defendants.                )


     PLAINTIFFS’ REPLY IN SUPPORT OF THEIR MOTION TO COMPEL
 DEMOCRATIC CONGRESSIONAL CAMPAIGN COMMITTEE TO COMPLY WITH
            SUBPOENA SEEKING THIRD PARTY DISCOVERY

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                                      INTRODUCTION

       Plaintiffs have alleged in the underlying case that the Springfield, Illinois Democratic

legislature, as directed by the Democratic Congressional Campaign Committee (“DCCC”),

violated the United States Constitution and the Voting Rights Act when it drew Illinois’

congressional districts following the 2010 census. As a part of discovery, Plaintiffs subpoenaed

the DCCC and requested a limited set of documents related to the DCCC’s involvement in the

Illinois redistricting process. Ever since it was served with Plaintiffs’ subpoena (“Subpoena”),

however, the DCCC has utterly rejected its obligations pursuant to the Federal Rules of Civil

Procedure. Both its blanket objections and bad faith approach to the meet and confer process

demonstrate the DCCC’s total disregard for the duly issued Subpoena. Likewise, the DCCC’s

September 22, 2011 Opposition to Plaintiffs’ Motion to Compel (“Opposition”) relies upon

blatant mischaracterizations of Plaintiffs’ undeniably narrow document requests, the DCCC’s

own organization and membership, and inapposite case law in an effort to thwart standard

discovery of relevant documents that are central to Plaintiffs’ claims now pending in the

Northern District of Illinois.

       The DCCC’s assertion that it has no obligation to comply with the Subpoena in light of

the pending motion to dismiss is meritless given that, by the directive of the presiding judge in

the underlying matter, the parties to the underlying action are proceeding with their fact and

expert discovery. In fact, Judge Lefkow’s August 11, 2011 order (“Order”) setting a briefing

schedule and granting expedited discovery specifically accounted for the fact that the Defendants

might file a motion to dismiss (Order ¶ 1). Nevertheless, the Order requires that discovery

continue, setting expert discovery deadlines of September 14 and September 28 (id. ¶ 2.3), and

mandating that “[d]iscovery shall be completed by October 19, 2011.” Id. ¶ 2.8. The DCCC’s



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suggestion that this Court simply ignore the Order issued by a fellow United States District Court

is untenable.

        Despite the DCCC’s hyperbole, nothing about Plaintiffs’ Subpoena can be construed as

“a declaration of war.” Opp. at 3. Rather, Plaintiffs’ Subpoena is a targeted inquiry focused

solely upon the role that the DCCC played in the creation and development of the 2011 Illinois

congressional redistricting plan (“Plan”) enacted as Illinois P.A. 97-14.         On its face, the

Subpoena does not, as the DCCC falsely claims, seek the “DCCC’s most sensitive information”

such as “its analysis of the 2012 Congressional elections in Illinois and redistricting’s impact on

those elections; documents relating to its efforts to recruit Domocratic (sic) candidates to

challenge Plaintiffs; and the tools and methods its uses to target the electorate and analyze voter

behavior. . . .” (Opp. at 1). Plaintiffs’ counsel repeatedly has stated quite clearly that the

Plaintiffs have no interest in such information. Rather, the documents Plaintiffs request are very

specific categories of information concerning the role that the DCCC and its agents played in

drafting portions of the constitutionally infirm 2011 Illinois congressional redistricting Plan that

is the subject of the underlying action. The DCCC does not and cannot assert that it did not have

a key role in this process. Indeed, on September 29, 2011, United States Congressman Peter

Roskam testified that Illinois Senate President John J. Cullerton, a Democrat, informed him that

the DCCC drew the map. It is precisely because the DCCC inserted itself into this state

legislative process that historically has been the sole province of state legislators that the DCCC

cannot now hide behind purported First Amendment interests, privilege, or confidentiality claims

to shield that information from discovery. First Amendment concerns simply are not at issue

here.




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                                          ARGUMENT

I.     There Is Nothing “Premature” About Plaintiffs’ Discovery Requests Or Motion To
       Compel Compliance Therewith.

       As explained in Plaintiffs’ September 8, 2011 Motion To Compel Democratic

Congressional Campaign Committee To Comply With Subpoena Seeking Third Party Discovery

(“Motion to Compel”), “Rule 45 subpoenas are ‘discovery’ under Rules 16 and 26 of the Federal

Rules of Civil Procedure, and are subject to the same deadlines as other forms of discovery.”

Dag Enters., Inc. v. Exxon Mobil Corp., 226 F.R.D. 95, 104 (D.D.C. 2005). Moreover, “[a]

scheduling order is not a frivolous piece of paper, idly entered, which can be cavalierly

disregarded by counsel without peril. Indeed, disregard of the order would undermine the court’s

ability to control its docket, disrupt the agreed-upon course of litigation, and reward the indolent

and the cavalier.” Id. (internal citations and brackets omitted).

       According to the Order entered by Judge Lefkow in the underlying action as well as her

standing order (Mot. Ex. K), discovery proceeds unabated even during the pendency of the

briefing of the motion to dismiss. Specifically, the Order sets expert discovery deadlines of

September 14 and September 28 (Order ¶ 2.3), and mandates that “[d]iscovery shall be

completed by October 19, 2011.” Id. ¶ 2.8. As set forth in the Motion to Compel, expedited

discovery is necessary because of the looming deadlines related to the 2012 election season, for

which the Plan was created. Mot. ¶ 5. Thus, the DCCC has absolutely no right to defy that

Order and ignore the Subpoena, a court order, simply because the motion to dismiss is pending.

       The DCCC cannot unilaterally decide what schedule suits it, particularly in the face of a

valid Subpoena and an established expedited briefing and discovery schedule agreed upon by the

parties and ordered by a United States District Judge. In addition, it is not up to the DCCC to

decide whether discovery should be stayed pending a decision on the motion to dismiss the

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underlying action. That determination is solely for the court to make, and the DCCC has made

no motion requesting such relief. See Beecham v. Socialist People's Libyan Arab Jamahiriya,

245 F.R.D. 1, 3 (D.D.C.2007) (internal citations omitted) (denying stay of jurisdictional

discovery). Nor does the filing of a dispositive motion presumptively entitle the DCCC to a stay

of discovery even if it had asked for it. OMG Fidelity, Inc. v. Sirius Techs., Inc., 239 F.R.D. 300,

304 (N.D.N.Y. 2006) (mere filing of a motion to dismiss does not guarantee entitlement to a

stay). The DCCC therefore cannot refuse to comply with the Subpoena in light of the pending

motion to dismiss the underlying action.

       The weakness of its argument is demonstrated clearly by the cases cited in support of it

by the DCCC. In an attempt to justify its position, the DCCC cites several cases in which

discovery was stayed while dispositive motions were pending. None of the cases relied upon by

the DCCC are persuasive or applicable, however, because none involve instances in which a

court has ordered expedited discovery. See, e.g., Chavous v. District of Columbia Financial

Responsibility & Mgmt. Assistance Authority, 201 F.R.D. 1, 2 (D.D.C. 2001). In fact, in granting

the moving party’s motion to stay discovery, the court in Cleveland Construction, Inc. v.

Schenkel & Schultz Architects, P.A., No. 08-CV-407-RJC-DCK, 2009 WL 903564 (W.D.N.C.

Mar. 31, 2009), observed that the “discovery deadline is still seven months away”. Id. at *2.

This tactic from the DCCC can only be interpreted as attempt to delay because, as the

undersigned counsel has explained to counsel for the DCCC and as is obvious from the face of

the scheduling order, the district court ordered discovery to continue uninterrupted even during

the pendency of the motion to dismiss briefing. In the face of the Northern District of Illinois

court’s current scheduling order which anticipates on-going discovery during the briefing of a

motion to dismiss, there is simply no basis for the DCCC to seek this Court’s assistance in



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ignoring this valid court order. In addition, as the DCCC well knows, Plaintiffs do not have the

luxury of continued delay, as their discovery deadline is less than one month away.

       Plaintiffs respectfully submit that this Court should refuse the DCCC’s request to

interfere with the Order’s expedited discovery schedule because it is well-settled that “[c]omity

interests are advanced when courts of coordinate ranks are respectful of each other’s orders, as

well as careful to avoid hindering each other’s proceedings.” NAACP, Jefferson County Branch

v. Brock, 619 F. Supp. 846, 853 (D.D.C. 1985) (citing Schauss v. Metals Depository Corp., 757

F.2d 649, 654 (5th Cir. 1985)) and declining to issue a show cause order which would have

delayed proceedings in another district court.). See also Doe v. Doe Agency, 608 F. Supp. 2d 68

(D.D.C. 2009) (declining on ground of comity to modify protective order issued in another

jurisdiction). The need to adhere to the expedited discovery schedule is particularly strong in

this case in order to facilitate a prompt resolution to the underlying action in advance of

upcoming deadlines relating to the 2012 primary election process.

II.    Plaintiffs Have Requested—And The DCCC Possesses—Documents Highly
       Relevant To Plaintiffs’ Claims.

       “The party resisting discovery based on relevance bears the burden of demonstrating that

the information sought is not legally relevant.” Peskoff v. Faber, 2006 WL 1933483, *2 (D.D.C.

July 11, 2006). The DCCC cannot meet that burden here. “[R]elevancy at the discovery stage is

broadly defined,” Albany Molecular Research, Inc. v. Schloemer, 274 F.R.D. 22, 27 (D.D.C.

2011) (denying motion to quash), and Plaintiffs amply have demonstrated that the material

sought is discoverable.

       Because the DCCC and/or its agents were instrumental in the creation of the Plan, the

DCCC’s documents regarding the process of making that map evidence what the mapmakers

were trying to accomplish, i.e. their intent. Despite the DCCC’s protests to the contrary, the

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DCCC is not a mere disinterested “third party” (e.g. Opp. at 9) where the Plan is concerned. On

information and belief and as two United States Congressmen have testified1, the DCCC and/or

its agents directed the Illinois redistricting and map drawing process. Tellingly, the DCCC has

never denied its role in drafting portions of the Plan and its response in opposition contains no

statement or evidence to refute its central role in the drafting of the Plan.2 The DCCC cannot

now argue in good faith that its involvement in drafting portions of the Plan that is now the

subject of litigation is somehow irrelevant to showing what Illinois lawmakers were trying to

accomplish.

       The DCCC blithely suggests that evidence of intent will come from Illinois legislators

themselves. Opp. at 9. But “[d]etermining whether invidious discriminatory purpose was a

motivating factor [in the passage of legislation] demands a sensitive inquiry into such

circumstantial and direct evidence of intent as may be available.” Village of Arlington Heights v.

Metropolitan Housing Development Corp., 429 U.S. 252, 266 (U.S. 1977). Whether Illinois

legislators may have other discoverable evidence of intent is beside the point.3 The DCCC

plainly has documents that form part of this “sensitive inquiry” because of their role in the

1
        Reps. John Shimkus and Peter Roskam were deposed in the underlying action on
September 29, 2011. The transcripts of their depositions are not yet available but will be
provided if helpful for the Court.
2
        Although the facts are still evolving, there is a possibility, though not at issue here, that
the DCCC, which is not a registered lobbyist in Illinois, may have violated the Illinois Lobbyist
Registration Act, 25 ILCS 170, in influencing and directing the Illinois legislative process by
which the Plan was passed.
3
        In what cannot be a coincidence, those same Springfield Democrats from whom Plaintiffs
also seek discovery have objected on the specious grounds of absolute immunity and pointed to
the DCCC as the better source of information. See Mem. Supp. Mot. to Quash at 11-12; Opp. to
Mot. to Compel at 14 (attached hereto as Exhibits A (attachments omitted) and B, respectively).
The image of the DCCC and its partners, the Springfield Democratic lawmakers, pointing to
each other as the sources of information about the map would be comical if the issues at stake—
specifically whether the Plan which was the product of that alliance violates the Voting Rights
Act by, among other things, intentionally discriminating against Latino voters in Illinois—were
not so serious.
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creation of the Plan. Indeed, the DCCC has admitted as much. Opp. at 5. Plaintiffs must be

allowed to discover these materials.

       Further, the DCCC’s argument that evidence of discriminatory effect will come from

experts is a canard. Rule 26(b)(1) permits discovery “regarding any nonprivileged matter that is

relevant to any party’s claim or defense.” FED. R. CIV. P. 26(b)(1). See also Heat & Control,

Inc. v. Hester Indus., Inc., 785 F.2d 1017, 1023 (Fed. Cir. 1986) (noting that Rule 45 must be

read in light of Rule 26(b)). For that matter, regardless of the DCCC’s efforts to evaluate

Plaintiffs’ claims and strategies in the underlying action, the Federal Rules of Civil Procedure

impose no requirement that the material sought be relevant to every element of a claim.

Furthermore, while discriminatory effect is a factor in Plaintiffs’ partisan gerrymander claim

under Davis v. Bandemer, 479 U.S. 109 (1986), it is discriminatory intent that is an integral

element of each of Plaintiffs’ claims. See Garza v. County of Los Angeles, 918 F.2d 763, 766

(9th Cir. 1990) (the Voting Rights Act can be violated by either intentional discrimination or

discriminatory effect); Miller v. Johnson, 515 U.S. 900, 916 (1995) (plaintiff's burden in a racial

gerrymander claim under the Equal Protection Clause is to show that “that race was the

predominant factor motivating the legislature's decision to place a significant number of voters

within or without a particular district”); Davis, 478 U.S. at 127 (plurality) (to succeed on an

equal protection claim, a plaintiff must plead and ultimately prove intentional discrimination

against an identifiable group and an actual discriminatory effect on that group). The documents

sought by Plaintiffs’ Subpoena are highly relevant to Plaintiffs’ claims related to discriminatory

intent in the creation of the Plan, and that is sufficient to make the information on the DCCC’s

role in drafting the Plan discoverable.




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       Nor can the DCCC continue to object to the Subpoena on the ground that it imposes an

undue burden. See Opp. at 7-8. Aside from having waived that objection by not giving a

detailed statement of the time and expense involved, see Flatow v. The Islamic Republic of Iran,

196 F.R.D. 203, 207 (D.D.C. 2000), now the DCCC admits that is already has collected nearly

800 pages of responsive documents. Opp. at 5. In that circumstance, there is “no reason to

believe that producing them would engender an undue burden or expense.” Marriott Intern.

Resorts, L.P. v. United States, 61 Fed. Cl. 411, 420 (2004) (requiring government to produce

documents it already collected and identified).

III.   The First Amendment Does Not Preclude Production Of Documents Pursuant To
       The Subpoena.

       First Amendment interests are not implicated by Plaintiffs’ Subpoena. The Subpoena

requests a limited range of documents related to the DCCC’s involvement in the process (which

is now long over) that resulted in the Illinois congressional district map that was signed into law

in late June. It does not seek information about private citizens who affiliate with the DCCC,

membership lists, or donor lists—the types of materials that typically raise First Amendment

concerns. Nor does it seek to pry into the DCCC’s campaign strategies for the upcoming

elections. The Illinois redistricting process is long over, and it is untenable to maintain that

documents related to that process have anything to do with the strategy for the upcoming 2012

elections. Moreover, the DCCC’s members, all members of Congress, are well-known public

officeholders,4 distinguishing the DCCC from other groups who have availed themselves of the

First Amendment’s protection of private associational activity.




4
     As discussed further below, the DCCC calls itself “the official campaign arm of the
Democrats in the House [of Representatives].” http://www.dccc.org/pages/about.
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       The Subpoena requests documents that evidence the DCCC’s involvement in the Illinois

state legislative process related to redistricting. This legislative process is one that by its very

nature should be public. It also is a process into which the DCCC affirmatively chose to insert

its public organization and well known members. Having done this, the DCCC cannot hide

behind the First Amendment, and the law (including the cases relied on by the DCCC) does not

allow them to do so. The DCCC’s claim of First Amendment protections must fail.

       A.      The Subpoena Does Not Seek Documents That Implicate First Amendment
               Concerns.

       In order to make its fundamentally flawed First Amendment argument, the DCCC

mischaracterizes the Subpoena. Despite the DCCC’s assertion, Plaintiffs do not seek documents

relating to the DCCC’s “most sensitive information” (Opp. at 1) or the “DCCC’s analysis of the

2012 Congressional elections in Illinois, redistricting’s impact on those elections, and DCCC’s

efforts to recruit candidates to run against Plaintiffs” (Opp. at 7). Indeed, nowhere does the

subpoena request any of the types of materials the DCCC highlights as sensitive—the subpoena

does not request documents regarding election analysis, campaign strategy, internal DCCC

strategy, membership lists, or any information about private individuals.        On the contrary,

Plaintiffs have made a confined request for documents related only to the DCCC’s involvement

in the fundamentally public process of redistricting in Illinois. The request is limited in both

subject matter and time. Moreover, counsel for the Plaintiffs reiterated the limited nature of the

information sought to counsel for the DCCC before filing this motion specifically to respond to

any concerns that the DCCC might legitimately have had about the Subpoena’s scope. It is

telling that even with this information, the DCCC still maintains that the Subpoena is an attempt

to unearth “sensitive information” when clearly it is not.




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       The information Plaintiffs request is quite simply not the kind of information that the

First Amendment privilege aims to protect, and the DCCC’s protests to the contrary are off the

mark. The DCCC primarily relies on Wyoming v. U.S. Dep’t of Agriculture, 208 F.R.D. 449

(D.D.C. 2002) in support of its claim that the First Amendment privilege extends to a wide

variety of information. But the request for information that the Court rejected in Wyoming was

breathtaking in scope. Plaintiffs there sought discovery from three environmental groups that

had lobbied the Department of Agriculture on forest management regulations. Id. at 452. The

“broad range of documents” that Plaintiffs sought included not only material related to the

groups’ contacts with the Department, but also all of their internal communications about the

regulations as well as all communication about the regulations among the three subpoena

respondents or with ten other environmental organizations not served. Id. Plaintiffs’ narrowly

tailored Subpoena is nothing like the request in Wyoming: it is narrow in both subject matter and

time. Moreover, the Subpoena requests documents related to communications with Illinois state

legislators and other elected officials; the DCCC should have no expectation of privacy related to

communications with public figures, particularly where, as here, those communications relate to

the formulation and passage of a public law.5 Wyoming simply does not speak to this case. See

also Int’l Action Center v. U.S., 207 F.R.D. 1, 2 (D.D.C. 2002) (“The breadth of information

sought by the government is, to say the least, extraordinary.”).




5
        Throughout the entire redistricting process, Democratic lawmakers stated again and again
that their goal was to “make this the most open redistricting process in Illinois history.” See
April 1, 2011 statement of Illinois Senate President John J. Cullerton, available at
http://senatedem.illinois.gov/index.php/issues/veterans/benefit-information-for-veterans/1688--
redistricting-hearings-begin-public-input-encouraged. Further, when Governor Quinn signed the
bill enacting the Plan, he commended the “openness and transparency in the remap process.”
See June 3, 2011 Statement of Governor Pat Quinn, attached hereto as Exhibit C.
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       The DCCC also cites Perry v. Schwarzenegger, 591 F.3d 1147 (9th Cir. 2010), but Perry

is no more helpful. That case involved the “internal campaign communications relating to

campaign strategy and advertising” of a private political organization that had sponsored

California’s controversial anti-same-sex marriage initiative.       Id. at 1152.     Plaintiffs here

repeatedly have emphasized that they do not seek any information about the DCCC’s internal

campaign communications or strategy, which purportedly “lie at the core of DCCC's

associational mission to recruit and support Democratic candidates for the U.S. House of

Representatives.” Opp. at 12. On the contrary, Plaintiffs only seek information about the

DCCC’s influence on the state legislature and other public officials in Illinois in drawing the

disputed Plan.

       The DCCC hangs its hat on the assertion that the First Amendment privilege extends

beyond membership lists. Opp. at 10. But there is no denying that exposure of a group’s

members and supporters, and the effect of that exposure on the members’ associational rights, is

the fundamental harm the privilege aims to protect. See NAACP v. Alabama, 357 U.S. 449, 462

(1958) (Supreme Court recognizes the “vital relationship between freedom to associate and

privacy in one’s associations.”). As demonstrated by several cases cited by the DCCC, the

concern with exposing membership or supporters remains the animating force behind recognition

of the privilege. See, e.g., Int’l Action Center., 207 F.R.D. at 2 (information about participants or

potential participants at protest is “exactly the kind of information the First Amendment is

designed to protect”); Britt v. Superior Court, 20 Cal. 3d 844, 852 (Cal. 1978) (“In compelling

the wholesale disclosure of private association affiliations and activities, the challenged

discovery order works an unconstitutional infringement of First Amendment rights.”); Wilkinson

v. F.B.I, 111 F.R.D. 432, 436 (C.D. Cal. 1986) (“A review of the cases applying the privilege



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reveals that in each case the discovery that was subject to enhanced First Amendment scrutiny

was a specific request for a group’s membership list or list of financial contributors.”).

        The DCCC’s argument fails, however, because Plaintiffs simply have not asked for and

are not interested in this kind of information.        The Subpoena does not seek donor lists,

membership lists, or any information about the DCCC’s so-called “adherents.” See Mook Decl.

at 2.   Plaintiffs seek nothing more than information about the DCCC’s role in the entirely

external activity of drawing a congressional redistricting Plan in concert with the Illinois

legislature—a process that is fundamentally public and which the DCCC chose to insert itself

into. Having gotten itself involved in this public process, the DCCC cannot now hide behind the

First Amendment. Moreover, the DCCC’s involvement was with third party public figures; it

simply is not credible to now maintain that the DCCC thought that those communications were

protected by the First Amendment.

        B.     Plaintiffs’ Subpoena Will Not Cause A “Chilling Effect.”

        The DCCC cannot establish a First Amendment harm for another reason: its assertion of

a chilling effect (Opp. at 12, Mook Decl. at 3) simply is not credible. See New York State Nat’l

Assoc. for Women v. Terry, 886 F.2d 1339, 1355 (2d cir. 1989) (compelling discovery where

defendant could not explain how requests would actually interfere with First Amendment

activities). The DCCC cannot plausibly contend that “enforcement of the discovery requests will

result in (1) harassment, membership withdrawal, or discouragement of new members, or other

consequences which objectively suggest an impact on, or chilling of, the members’ associational

rights.” Perry, 591 F.3d at 1160 (internal quotations omitted). As established repeatedly, the

information sought has nothing to do with the DCCC’s members or core membership and in no

way impinges on the DCCC members’ freedom of association.



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       Moreover, as explained above (at 11-12), a First Amendment privilege exists to protect

“the vital relationship between freedom to associate and privacy in one’s associations.” Int’l

Union v. Nat’l Right to Work Legal Defense and Educ. Found’n, Inc., 590 F.2d 1139, 1152 (D.C.

Cir. 1978) (citing NAACP v. Alabama, 357 U.S. 449, 462 (1958)) (emphasis added). The

reasoning behind the privilege is that “public identification of individuals who never intended

their participation in First Amendment activity to thrust them into the harsh glare of the limelight

is calculated to chill future political dissent and discourage participation in other protest

activity.” Int’l Action Center, 207 F.R.D. at 3-4. It is exposure of association that is behind the

so-called chilling effect of compliance with discovery. See, e.g., Uphaus v. Wyman, 360 U.S. 72,

78 (1959) (interest at stake was associational privacy); Superior Court of San Diego County v.

San Diego Unified Port Dist., 574 Pac. 2d 766, 768 (Cal. 1978) (“intrusion into associational

privacy” is what the First Amendment privilege prevents); Fed. Election Comm’n v. Machinists

Non-Partisan Political League, 655 F.2d 380, (D.D.C. 1981) (“[F]irst [A]mendment interest in

privacy of political association” threatened by subpoena).

       In a different context, a claim about the expectation of privacy of an interest group’s

members might have some relevancy; here, with the DCCC, that argument is entirely specious.

The DCCC’s membership consists of public officials, namely Democrat congresspersons, whose

political associations are well known. The DCCC describes itself as “the official campaign arm

of the Democrats in the House [of Representatives].”             http://www.dccc.org/pages/about

(emphasis added). In its own words, the DCCC is “[o]rganized and operated by Democratic

members of the House of Representatives.” See FEC Advisory Op. 1985-14 attached hereto as

Exhibit D. Like all public office holders, Democratic members of the House of Representatives

have willingly stepped into “harsh glare of the limelight” and opened their political associations



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to public scrutiny. Because of this clear willingness to engage in political activity in the most

public way possible, the contention that such public figures will be discouraged or “chilled”—

that they might actually become reluctant to be Democratic Congresspersons—is laughable. The

DCCC cannot claim privilege based merely on a First Amendment interest in associating. As the

DCCC itself concedes (Opp. at 11), it must demonstrate harm to that interest, and this it cannot

do.

       The DCCC’s reliance on Wyoming is misplaced in this regard as well. The groups

asserting a First Amendment interest in that case were environmental organizations consisting of

private citizens, not public officials. Wyoming, 208 F.R.D. at 451. Unlike the members of the

DCCC, members of those groups had not willingly exposed their political activities to public

view. The DCCC is not the Heritage Forest Campaign, id., nor is it ProtectMarriage.com—Yes

on 8, Perry, 591 F.3d at 1147, and it is certainly not the NAACP’s Alabama affiliate in 1958,

NAACP, 357 U.S. at 451. The District of Columbia Circuit recognized decades ago that “the

argument in favor of upholding the claim of privilege will ordinarily grow stronger as the danger

to rights of expression and association increases.” Black Panther Party v. Smith, 661 F.2d 1243,

1267 (1981). Here, the DCCC’s cry of “chill”—made in a declaration from a highly public

figure in the world of Democrat politics6—shows the argument at its weakest. The DCCC does



6
        DCCC employee Robert E. Mook, Executive Director, although not a Congressman, is a
highly public figure who, according to the Washington Post, took over as “the head of the House
Democrats’ campaign arm for the 2012 election.” See http://www.washingtonpost.com/wp-
dyn/content/article/2010/12/05/AR2010120504745.html. The DCCC’s own December 6, 2010
press release details Mr. Mook’s high profile political activities, including that “Mook served as
the DCCC’s Political Director since the beginning of 2009. In that capacity he oversaw
candidate recruitment, campaign planning and strategy. Before joining the committee, he
managed Senator Jeanne Shaheen’s (NH) successful 2008 campaign for the United States
Senate. Mook also previously worked for then-Senator Hillary Clinton’s presidential campaign
where he was successful winning races as State Director in Nevada, Ohio, and Indiana. During
the 2004 cycle, Mook successfully oversaw the Wisconsin GOTV program for then Presidential
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not need, and cannot claim, the protection of the First Amendment—certainly not in this instance

where the actual requests in the Subpoena do not seek any information about the DCCC’s

membership or donor lists.

       C.      Even If First Amendment Rights Are Implicated, Production Of The
               DCCC’S Responsive Documents Is Warranted.

       Even if the DCCC had a colorable claim that its First Amendment interests are

threatened—which it does not—Plaintiffs nonetheless should be permitted discovery because the

documents at issue in this case directly go to the “heart of the lawsuit.” Wyoming, 208 F.R.D. at

455. Plaintiffs’ Complaint alleges that the Plan intentionally dilutes the votes of Latinos, enacts

an unconstitutional racial gerrymander, and engages in blatant partisan gerrymandering. On

information and belief, the DCCC, with and through its Illinois congressional members and its

agents, influenced the creation of the map that was eventually adopted by the Illinois General

Assembly. The intent of the DCCC thus became the intent of the Illinois legislature. The goals,

considerations, and motivations that influenced the DCCC in creating the map therefore are

critical to establishing that that the Plan was intended to disenfranchise Latino and Republican

voters in Illinois. See, e.g., Village of Arlington Heights v. Metro. Hous. Dev. Corp., 429 U.S.

252, 268 (1977) (recognizing that legislators “might be called to the stand at trial to testify

concerning the purpose of the official action”); Rodriguez v. Pataki, 280 F. Supp. 2d 89, 102

(S.D.N.Y. 2003) (“While evidence of discriminatory animus may not be an essential element of

all of the plaintiffs’ claims, it certainly is something that can be considered in deciding whether

the . . . redistricting plans pass judicial muster.”). United States v. Irvin, 127 F.R.D. 169, 171-




nominee Senator John Kerry.” See http://dccc.org/blog/entry/dccc_chairman_steve_israel
names_robby_mook_dccc_executive_director/.
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173 (C.D. Cal. 1989) (“evidence concerning the intent with which the [redistricting body]

adopted the plan and rejected certain alternatives,” is highly-relevant).

       The centrality of the evidence requested here makes this case very different from

Wyoming. There, the court found that the documents were irrelevant to the State of Wyoming’s

claims under the Federal Advisory Committee Act (“FACA”). Wyoming, 208 F.R.D. at 453.

Under that statute, what mattered for the state’s claim was the degree of control the government

exercised over the interest groups, and the interest groups’ activities had no impact on whether

the defendant violated FACA. Id. at 454. Here, the situation is reversed: it is the DCCC’s

control over the Illinois mapping process that is central to the litigation. Thus, Plaintiffs must be

allowed to gather evidence relating to that influence.

       Moreover, and again in contrast to Wyoming, these documents cannot be obtained from

another source, with or without reasonable efforts. Plaintiffs have sued the Illinois State Board

of Elections and its members (collectively “SBE”) to enjoin their use of the Proposed

Congressional Plan in the upcoming 2012 congressional elections. But, unlike the DCCC, the

SBE has admitted that it, not surprisingly, had no role in the development of the Plan and

therefore possesses no documents evidencing any intent to dilute the voting strength of Illinois

Latinos and/or Republicans.      Thus, unlike Wyoming, where party discovery clearly was a

superior alternative to the contested subpoena, see id. at 455, no party in this case can provide the

evidence that is in the DCCC’s possession.

       The DCCC’s reliance on American Fed. of Labor and Congress of Indus. Orgs. v. Fed.

Election Comm’n, 333 F.3d 168 (D.C. Cir. 2003) also is misplaced. American Federation

involved an FEC regulation requiring disclosure to the public of FEC investigatory files. Id. at

170. The DCCC is well aware that nothing like that kind of disclosure is contemplated by



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Plaintiffs’ Subpoena. The DCCC is required only to turn over its responsive documents to

Plaintiffs, who repeatedly have expressed their willingness to abide by an agreed-upon protective

order. See Mot. ¶ 32. See also Nat’l Org. for Marriage v. McKee, 723 F. Supp. 2d 236, 240-41

(D. Me. 2010) (alleged chilling effect negated by protective order).

IV.    Plaintiffs Clearly Have Established A Substantial Need For The Requested
       Documents.

       The DCCC asserts no sound basis for claiming that its records constitute material akin to

trade secrets. “Courts typically consider two factors in analyzing Rule 45 cases, beginning with

whether the release of the information would unfairly harm the disclosing party’s ability to

compete in the marketplace.” Albany Molecular Research, 274 F.R.D. at 25. Notwithstanding

the DCCC’s mischaracterization of Plaintiffs’ requests, Plaintiffs do not seek material regarding

the DCCC’s strategies with respect to competing in the 2012 congressional elections—in Illinois

or anywhere else. Plaintiffs’ Subpoena only seeks a narrow set of documents directly related to

the DCCC’s role in the creation of the Plan at issue in the underlying action. The DCCC has not

established, as it must, how production of those documents will work a competitive harm on the

DCCC. Therefore these materials should not be considered confidential information under Rule

45.

       Because harm to a competitive position is the central concern, the second factor a court

considers is whether the information is being disclosed to a competitor. Falicia v. Advanced

Tenant Services, Inc., 235 F.R.D. 5, 7 (D.D.C. 2006). Competitive interests are not implicated

by the information requested by the Subpoena, and the authority relied upon by the DCCC is

inapplicable. See Echostar Commc’ns Corp. v. News Corp. Ltd., 180 F.R.D. 391, 395 (D. Colo.

1998) (“No one disputes that Echostar is a competitor of the non-parties.”); see also Educ.

Logistics, Inc. v. Laidlaw Transit, Inc., 2011 WL 1348401, at *2 (N.D. Tex. Apr. 8, 2011)

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(requesting party was a “direct competitor” of the subpoena target). The DCCC’s competitor is

the National Republican Congressional Committee (“NRCC”), a non-party to this or the

underlying action. See Opp. at 12, 17. The fact that Plaintiff Congressman John Shimkus also is

an officer of the NRCC is irrelevant; the NRCC is not a party to this or the underlying action,

and therefore no information will be disclosed to it. Moreover, to alleviate the DCCC’s apparent

concerns in this regard (see Opp. at 1, 2, 5, 17; Mook Decl. ¶ 4), Plaintiffs have made clear their

willingness to enter into a reasonable protective order to safeguard the DCCC’s documents.

Mot. ¶ 32; see also Albany Molecular Research, 274 F.R.D. at 26 (“The existence of a protective

order weighs against quashing the subpoena on commercial information grounds because the

protective order is designed to protect and prevent public disclosure of confidential and sensitive

business information, like that potentially at issue here.”).

        Even if the DCCC had a cognizable trade secret or confidentiality interest, Plaintiffs

plainly have a “substantial need for the . . . material that cannot be otherwise met without undue

hardship.” FED. R. CIV. P. 45(c)(3)(C)(i). To show substantial need, the requesting party must

demonstrate that “obtaining the information is both relevant and necessary” to the underlying

litigation.   Falicia, 235 F.R.D. at 7.     See also Compaq Computer Corp. v. Packard Bell

Electronics, Inc., 163 F.R.D. 329, 338 (N.D. Cal. 1995) (“[D]iscovery is virtually always ordered

once the movant has established that the secret information is [both] relevant and necessary.”).

Plaintiffs amply have demonstrated that the requested documents are highly relevant to their

case. Fundamentally, now two members of Congress have testified under oath that two different

Democratic lawmakers, one a Congressman and the other the President of the Illinois State

Senate, informed them that the DCCC and/or one of its agents drew the map comprising the Plan

Plaintiffs challenge in the underlying action. Nowhere in its Opposition does the DCCC deny



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this. Thus, the DCCC’s documents relating to the drafting process are not merely relevant but

essential to showing the intent of DCCC and of Illinois legislators with whom they cooperated as

to the constitutionally infirm Plan. Plaintiffs’ Subpoena requests therefore are “probing the

precise topic” of how the Plan was created and why. Athridge v. Aetna Cas. and Sur. Co., 184

F.R.D. 200, 210 (D.D.C. 1998). Documents responsive to the Subpoena clearly exist as the

DCCC admits (Opp. at 18), Plaintiffs have established a legitimate use for such documents in

that they are central to proving the intent behind the Plan, and the narrowness of the Subpoena’s

requests demonstrate that this is not a fishing expedition. See Cusumano v. Microsoft Corp., 162

F.3d 708, 716 (1st Cir. 1998).

       Furthermore, there are no other easier or less intrusive ways for Plaintiffs to obtain

essential and admissible direct evidence of intent other than from the very party who created the

Plan. See Kulzer v. Esschem, Inc., 390 F. App’x 88, 93 (3d Cir. 2010) (substantial need for

confidential information demonstrated where respondent was only available source of

information). Other parties’ testimony about what the DCCC and its agents did or did not do

concerning the Plan is of course hearsay and likely not admissible. Consequently, the best, most

relevant, and admissible source of evidence about what the DCCC intended concerning the

drafting of the Plan comes from the DCCC itself.7 Thus, compelling the DCCC’s production of

documents responsive to the Subpoena is necessary to provide evidence for Plaintiffs to prove

that the individuals and entities who drew the Plan intended to disenfranchise Latino and



7
        The DCCC has argued that the better alternative source for the information is the Illinois
legislature. However, as the DCCC well knows, individual legislators and their staff have
asserted blanket, absolute legislative immunity from discovery and asserted that the documents
can be obtained from the DCCC. Moreover, even if the Plaintiffs are able to obtain some
information from the Illinois legislature, any such evidence or testimony about the DCCC’s
actions will likely face a hearsay challenge. As such, the DCCC is, of course, the best source of
admissible evidence about its own actions in drafting the Plan.
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Republican voters in Illinois. And, it makes the most sense to obtain documents related to these

communications directly from the source. For these reasons, Plaintiffs plainly have a substantial

need for the documents requested by the Subpoena.

V.     The DCCC Is Not Excused From Compliance With The Federal Rules Of Civil
       Procedure.

       A.      The DCCC’s Attempt To Seal Its Privilege Log Is Improper.

       The DCCC’s Opposition asserts that the entirety of the nearly 800 pages of responsive

material is subject to privilege and has been identified in a privilege log. Opp. at 18. If the

DCCC truly considers these documents privileged, Rule 45 mandates that the DCCC must

describe the nature of the documents not produced or disclosed and do so in a manner that,

without revealing information itself privileged or protected, will enable other parties to assess the

claim. FED. R. CIV. P. 45(d)(2)(A); see also In re Apollo Group, Inc. Sec. Litig., 2007 WL

778653, at *8 (D.D.C. March 12, 2007) (“To the extent the DOE maintains that it is not required

to produce the documents sought in the Amended Subpoena on the grounds of various privileges,

the DOE must comply with its obligations under Federal Rule of Civil Procedure 45(d)(2) and

produce a privilege log that allows Apollo and the Court to assess the validity of the claimed

privileges.”). Rather than provide Plaintiffs with a copy of the log as is its duty, the DCCC filed

a motion for leave to file its privilege log under seal. See Opp. at 18. The DCCC has cited no

case law in support of its extraordinary request. In response, Plaintiffs have filed an Opposition

to the DCCC’s Motion For Leave To File Privilege Log Under Seal, which is incorporated by

reference as though fully set forth herein.

       B.      The DCCC Still Refuses To Articulate Specific Objections.

       As set forth in Plaintiff’s Motion to Compel, Rule 34 “plainly states that objections to

requests for production must be made on an individual basis.” Lurensky v. Wellinghoff, 258

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F.R.D. 27, 30 (D.D.C. 2009). And “[u]nder Rule 34, failure to make particularized objections to

document requests constitutes a waiver of those objections.” Sabol v. Brooks, 469 F. Supp. 2d

324, 328 (D. Md. 2006) (ordering non-party to produce documents requested by a Rule 45

subpoena); see also FED. R. CIV. P. 34 (b)(2)(B) (“For each item or category, the response must .

. . state an objection to the request, including the reasons.”) (emphasis added). Rather than

attempt to remedy its failure to comply with the specificity requirements of Rule 34, the DCCC

broadly asserts that “there was nothing to be gained by repeating DCCC’s objections . . . for each

request.”   Opp. at 20.    Plaintiffs respectfully submit that, despite the DCCC’s assertion

otherwise, the Federal Rules of Civil Procedure are not “senseless process” (id. at 20), and the

DCCC should be bound by their requirements.

                                        CONCLUSION

       WHEREFORE, for the foregoing reasons, the Court should grant Plaintiffs’ Motion to

Compel and order the Democratic Congressional Campaign Committee to comply with

Plaintiffs’ subpoena within ten (10) days and award Plaintiffs their attorneys’ fees and other

costs associated with Plaintiffs’ Motion To Compel Democratic Congressional Campaign

Committee To Comply With Subpoena Seeking Third Party Discovery.




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Dated: Sept. 29, 2011                       Respectfully submitted,

                                            COMMITTEE FOR A FAIR AND
                                            BALANCED MAP, ET AL.


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                               CERTIFICATE OF SERVICE

       I hereby certify that on September 29, 2011, a copy of the forgoing Plaintiffs’ Reply In

Support Of Their Motion To Compel Democratic Congressional Campaign Committee To

Comply With Subpoena Seeking Third Party Discovery was provided by email to:

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Counsel for Defendants Illinois State Board of Elections and its Members

And filed the forgoing on the CM/ECF system which will send a notice of electronic filing to the

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Counsel for Democratic Congressional Campaign Committee


Dated: September 29, 2011                        By:       /s/ Dana S. Douglas ___________________________
                                                       Dana S. Douglas (admitted pro hac vice)
                                                       MAYER BROWN LLP
                                                       71 South Wacker Drive
                                                       Chicago, Illinois 60606
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                                                       (312) 701-7711 – fax
                                                       dsdouglas@mayerbrown.com
Case:Case
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                                                                     PageID  54#:924
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Case:
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    Case            Document
        1:11-cv-05065
          1:11-mc-00514-DAR  #:Document
                      Document  90-1
                                #: 59 Filed:
                                      Filed: 10/24/11
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                                                                   PagePageID
                                                                     PageID  54#:925
                                                                        3 of #:395
Case:
 Case:1:11-cv-05065
    Case            Document
        1:11-cv-05065
          1:11-mc-00514-DAR  #:Document
                      Document  90-1
                                #: 59 Filed:
                                      Filed: 10/24/11
                                          13-1    FiledPage
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                                                                   PagePageID
                                                                     PageID  54#:926
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Case:
 Case:1:11-cv-05065
    Case            Document
        1:11-cv-05065
          1:11-mc-00514-DAR  #:Document
                      Document  90-1
                                #: 59 Filed:
                                      Filed: 10/24/11
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                                                                     PageID  54#:927
                                                                        5 of #:397
Case:
 Case:1:11-cv-05065
    Case            Document
        1:11-cv-05065
          1:11-mc-00514-DAR  #:Document
                      Document  90-1
                                #: 59 Filed:
                                      Filed: 10/24/11
                                          13-1    FiledPage
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                                                                     PageID  54#:928
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Case:
 Case:1:11-cv-05065
    Case            Document
        1:11-cv-05065
          1:11-mc-00514-DAR  #:Document
                      Document  90-1
                                #: 59 Filed:
                                      Filed: 10/24/11
                                          13-1    FiledPage
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                                                                   PagePageID
                                                                     PageID  54#:929
                                                                        7 of #:399
Case:
 Case:1:11-cv-05065
    Case            Document
        1:11-cv-05065
          1:11-mc-00514-DAR  #:Document
                      Document  90-1
                                #: 59 Filed:
                                      Filed: 10/24/11
                                          13-1    FiledPage
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                                                             7 of  148
                                                                   PagePageID
                                                                     PageID  54#:930
                                                                        8 of #:400
Case:
 Case:1:11-cv-05065
    Case            Document
        1:11-cv-05065
          1:11-mc-00514-DAR  #:Document
                      Document  90-1
                                #: 59 Filed:
                                      Filed: 10/24/11
                                          13-1    FiledPage
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                                                                   PagePageID
                                                                     PageID  54#:931
                                                                        9 of #:401
Case:
 Case:1:11-cv-05065
   Case             Document
        1:11-cv-05065
          1:11-mc-00514-DAR  #:
                      Document  90-1
                                   59 Filed:
                             Document
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                                                                Page PageID
                                                                   PageID    #:932
                                                                      10 of#:402
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Case:
 Case:1:11-cv-05065
   Case1:11-cv-05065Document
                     Document#:
         1:11-mc-00514-DAR    #:90-1
                             Document
                                 59 Filed: 10/24/11
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                                               FiledPage 76 of Page
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                                                               17  PageID  #:933
                                                                    11 of #:403
                                                                          54
Case:
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   Case1:11-cv-05065Document
                     Document#:
         1:11-mc-00514-DAR    #:90-1
                             Document
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Case:
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   Case1:11-cv-05065Document
                     Document#:
         1:11-mc-00514-DAR    #:90-1
                             Document
                                 59 Filed: 10/24/11
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Case:
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   Case1:11-cv-05065Document
                     Document#:
         1:11-mc-00514-DAR    #:90-1
                             Document
                                 59 Filed: 10/24/11
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                                           09/16/11
                                               FiledPage 79 of Page
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                                                               17  PageID  #:936
                                                                    14 of #:406
                                                                          54
Case:
 Case:1:11-cv-05065
   Case1:11-cv-05065Document
                     Document#:
         1:11-mc-00514-DAR    #:90-1
                             Document
                                 59 Filed: 10/24/11
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                                               FiledPage 80 of Page
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                                                               17  PageID  #:937
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                                                                          54
Case:
 Case:1:11-cv-05065
   Case1:11-cv-05065Document
                     Document#:
         1:11-mc-00514-DAR    #:90-1
                             Document
                                 59 Filed: 10/24/11
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                                           09/16/11
                                               FiledPage 81 of Page
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                                                               17  PageID  #:938
                                                                    16 of #:408
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Case:
 Case:1:11-cv-05065
   Case1:11-cv-05065Document
                     Document#:
         1:11-mc-00514-DAR    #:90-1
                             Document
                                 59 Filed: 10/24/11
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Case:
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   Case1:11-cv-05065Document
                     Document#:
         1:11-mc-00514-DAR    #:90-1
                             Document
                                 59 Filed: 10/24/11
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Case: 1:11-cv-05065
   Case             Document #:
         1:11-mc-00514-DAR      90-1 Filed:
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Case:
 Case:1:11-cv-05065
   Case             Document
        1:11-cv-05065
          1:11-mc-00514-DAR  #:
                      Document  90-1
                                   65 Filed:
                             Document
                                #:    Filed: 10/24/11
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                                                                   PageID    #:942
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Case:
 Case:1:11-cv-05065
   Case             Document
        1:11-cv-05065
          1:11-mc-00514-DAR  #:
                      Document  90-1
                                   65 Filed:
                             Document
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                                                                   PageID    #:943
                                                                      21 of#:555
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Case:
 Case:1:11-cv-05065
   Case             Document
        1:11-cv-05065
          1:11-mc-00514-DAR  #:
                      Document  90-1
                                   65 Filed:
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                                                                   PageID    #:944
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Case:
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   Case             Document
        1:11-cv-05065
          1:11-mc-00514-DAR  #:
                      Document  90-1
                                   65 Filed:
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                                                                Page PageID
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Case:
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   Case             Document
        1:11-cv-05065
          1:11-mc-00514-DAR  #:
                      Document  90-1
                                   65 Filed:
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Case:
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   Case             Document
        1:11-cv-05065
          1:11-mc-00514-DAR  #:
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                                   65 Filed:
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   Case             Document
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          1:11-mc-00514-DAR  #:
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                                                                Page PageID
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Case:
 Case:1:11-cv-05065
   Case             Document
        1:11-cv-05065
          1:11-mc-00514-DAR  #:
                      Document  90-1
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Case:
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          1:11-mc-00514-DAR  #:
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Case:
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   Case1:11-cv-05065Document
                     Document#:
         1:11-mc-00514-DAR    #:90-1
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Case:
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   Case1:11-cv-05065Document
                     Document#:
         1:11-mc-00514-DAR    #:90-1
                             Document
                                 65 Filed: 10/24/11
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                                                               20  PageID  #:952
                                                                    30 of #:564
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Case:
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   Case1:11-cv-05065Document
                     Document#:
         1:11-mc-00514-DAR    #:90-1
                             Document
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                                                                    31 of #:565
                                                                          54
Case:
 Case:1:11-cv-05065
   Case1:11-cv-05065Document
                     Document#:
         1:11-mc-00514-DAR    #:90-1
                             Document
                                 65 Filed: 10/24/11
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                                                    09/29/11
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                                                               20  PageID  #:954
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                                                                          54
Case:
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   Case1:11-cv-05065Document
                     Document#:
         1:11-mc-00514-DAR    #:90-1
                             Document
                                 65 Filed: 10/24/11
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                                                    09/29/11
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                                                               20  PageID  #:955
                                                                    33 of #:567
                                                                          54
Case:
 Case:1:11-cv-05065
   Case1:11-cv-05065Document
                     Document#:
         1:11-mc-00514-DAR    #:90-1
                             Document
                                 65 Filed: 10/24/11
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                                                                    34 of #:568
                                                                          54
Case:
 Case:1:11-cv-05065
    Case            Document
        1:11-cv-05065
          1:11-mc-00514-DAR  #:Document
                      Document  90-1
                                #: 65 Filed:
                                      Filed: 10/24/11
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Case:
 Case:1:11-cv-05065
    Case            Document
        1:11-cv-05065
          1:11-mc-00514-DAR  #:Document
                      Document  90-1
                                #: 65 Filed:
                                      Filed: 10/24/11
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                                                                      PageID  54#:958
                                                                        36 of #:570
Case:
 Case:1:11-cv-05065
    Case            Document
        1:11-cv-05065
          1:11-mc-00514-DAR  #:Document
                      Document  90-1
                                #: 65 Filed:
                                      Filed: 10/24/11
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Case:
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    Case            Document
        1:11-cv-05065
          1:11-mc-00514-DAR  #:Document
                      Document  90-1
                                #: 65 Filed:
                                      Filed: 10/24/11
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                                                                   20   PageID
                                                                      PageID  54#:960
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Case:
 Case:1:11-cv-05065
    Case            Document
        1:11-cv-05065
          1:11-mc-00514-DAR  #:Document
                      Document  90-1
                                #: 65 Filed:
                                      Filed: 10/24/11
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                                                                      PageID  54#:961
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Case:
 Case:1:11-cv-05065
    Case            Document
        1:11-cv-05065
          1:11-mc-00514-DAR  #:Document
                      Document  90-1
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Case:
 Case:1:11-cv-05065
    Case            Document
        1:11-cv-05065
          1:11-mc-00514-DAR  #:Document
                      Document  90-1
                                #:    Filed:
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                                                                    5 PageID  54#:963
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Case:
 Case:1:11-cv-05065
    Case            Document
        1:11-cv-05065
          1:11-mc-00514-DAR  #:Document
                      Document  90-1
                                #:    Filed:
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Case:
 Case:1:11-cv-05065
    Case            Document
        1:11-cv-05065
          1:11-mc-00514-DAR  #:Document
                      Document  90-1
                                #:    Filed:
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Case:
 Case:1:11-cv-05065
    Case            Document
        1:11-cv-05065
          1:11-mc-00514-DAR  #:Document
                      Document  90-1
                                #:    Filed:
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      1:11-cv-05065 Document #:Document
          1:11-mc-00514-DAR     90-1 Filed: 10/24/11
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                  EXHIBIT C
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      1:11-cv-05065 Document #:Document
          1:11-mc-00514-DAR     90-1 Filed: 10/24/11
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Case:Case
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                 EXHIBIT D
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                           FEDERAL ELECTION COMMISSION
                           Washington, DC 20463



May 30, 1985

CERTIFIED MAIL,
RETURN RECEIPT REQUESTED

ADVISORY OPINION 1985-14

Robert F. Bauer, Esq.
Perkins, Coie, Stone, Olsen & Williams
1110 Vermont Avenue, N.W.
Washington, D.C. 20005

Dear Mr. Bauer:

This responds to your letters of March 18 and April 9, 1985, requesting an advisory opinion on
behalf of the Democratic Congressional Campaign Committee ("DCCC"), concerning
application of the Federal Election Campaign Act of 1971, as amended ("the Act"), and
Commission regulations to the allocation and reporting of expenditures for certain political
advertisements.

DCCC is registered with the Commission as a party-related, multicandidate political committee.
You state that DCCC is "[o]rganized and operated by Democratic members of the House of
Representatives" and "functions broadly as a national party organization in support of
Democratic candidates to the House, as well as other public offices around the country." You
state that DCCC plans to initiate a program involving criticism of the records of individual
Republican members of the House of Representatives and of the activities of Republican
Members of Congress as a class. Some of these Republican members may not be announced
candidates for the 1986 elections, while some will have qualified as candidates pursuant to the
Act. See 2 U.S.C. 431(2).

You state that DCCC plans to focus its program in 20-100 selected congressional districts but
may expand it to include all districts represented by Republicans. You add that DCCC's program
will have "the clear purpose of influencing voter perceptions of these candidates with a view
toward weakening their positions as candidates for re-election in 1986." You state that some of
the proposed communications will refer to the next or the last election, while other
communications will criticize a congressman's record without any reference to any election or
without any express advocacy language. These communications will include television and radio
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broadcasts, newspaper and other print advertising, and direct mail brochures. You propose to
produce and disseminate these communications currently and in September 1985.1

In this context, you have provided the scripts for radio and television broadcasts and the text for
a direct mail brochure:

       "PLIERS AND TOILET SEATS" (Radio/TV)
       Democratic Congressional Campaign Committee

       Background: Loud laughter and applause

       Voice No. 1: What's going on? What's so funny?

       Voice No. 2: (laughing intermittently): Oh, that's the President getting a good
       laugh from the crowd in Washington, the Republicans in Congress. He says we
       should take care of the farm crisis by keeping the grain (begins to burst into
       uncontrolled laughter)-- and exporting the farmers!!!

       Voice No. 1: (with anger): That's not funny at all; this farm crisis is real and
       endangering the very existence of family farms. People are really suffering.

       Voice No. 1: Who cares? The Republicans sure don't. So just join the crowd and
       have a good laugh.

       Announcer: But it is not a laughing matter. The President and his Republican
       supporters in Congress are enjoying this joke at the expense of the American
       farmer--but the last laugh is on you and on your children. And while the
       Republicans are breaking every election-year promise they ever made to the
       American farmer, they just look on and smile when multi-billion dollar defense
       contractors charge you--the taxpayer--$______ for a pair of pliers and $______
       for a toilet seat. That's the real joke.

       (Pause)

       Announcer: Let your Republican Congressman know that you don't think this is
       funny.
       (Or, in some ads: Let the Republicans in Congress know what you think about
       their sense of humor.)
       [In some scripts, the text closes with "Vote Democratic"]
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     "Crumbling Foundation" (Radio/TV)
     Democratic Congressional Campaign Committee

     Sound: A crumbling, cracking sound of something "giving away."

     Announcer (with sound in background): You read the newspaper nowadays and
     what do you find: stories about collapsing banks, people in a panic over the loss
     of their savings, federal and state government coming up with rescue plans and
     bailouts.

     (Sound in background get louder)

     Announcer: It all sounds too familiar, like 1932, but it's not then. It's now. And it's
     real.

     (Sound in background increases in volume)

     Announcer: The President and his Republican allies in Congress are all smiles,
     they tell us not to worry. But under their leadership, the budget deficit grows to
     monstrous proportions, Wall Street is nervous, the dollar begins to show signs of
     weakness.

     (Sound comes to fore, very loud and then replaced by a moment of silence)

     Announcer: We've seen all this before: let's make sure it doesn't happen again. Let
     your Republican Congressman (or in some ads, the Republicans in Congress)
     know that their irresponsible management of the nation's economy must end--
     before it's too late.

     [In some scripts, the text closes with "Vote Democratic"]
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                                 SAMPLE MAILER
                                  17 x 22/One Fold

     Front Face
     8 1/2 x 11

                                                             Bulk mail
                                      Wave of the future?

                              [dye-cut; beautiful sunset; couple walking
                              in ocean surf/beach]



     Inside                             Fold
     17 x 22

                              The wave of the future could be an oil spill if
                              Cong. X has his way! [Picture of giant oil-
                              derrick in ocean ruins the lovely picture]

                              Text

                              List of X's contributions from oil industry
                              [Same couple on beach]


     Back Cover
     8 1/2 x 11
                       Don't be fooled by Republican rhetoric. Save our coastal
                       environment.

                       Let Congressman X know how you feel.

                       [In some scripts, the text closes with "Vote Democratic".]
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You seek to determine whether DCCC's expenditures for these planned communications must be
considered attributable contributions or expenditures under 11 CFR 106.1 and Advisory Opinion
1984-15. You have presented several specific questions:

1. Would broadcast advertisements and other general public communications (e.g. direct mail,
leaflets, etc.) that specifically identify Republican congressmen and criticize their records,
require allocation under 11 CFR 106.1(a) and AO 1984-15? Does the answer depend on whether
the communications contain reference to "elections" or any "express advocacy" language?

2. Would broadcast advertisements and other general public communications that criticize the
activities and record of Republican congressmen as a class require allocation under 11 CFR
106.1(a) and AO 1984-15 to the individual Democratic candidates, when ultimately nominated
by the Democratic Party?

3. Does the answer to question 2 differ if DCCC directs these "generic" critiques to selected
congressional districts?

DCCC's payments for these communications are reportable expenditures for the purpose of
influencing Federal elections, and the sources of the funds used by DCCC to make these
expenditures are subject to the limitations and prohibitions of the Act. See 2 U.S.C. 434, 441a,
441b, 441c, 441e, and 441f. Your questions relate to whether these expenditures are attributable
to a specific candidate or candidates and, thus, subject to the Act's limitations on those
contributions or expenditures made by DCCC.

You state that there may be no Democratic candidate, either announced or qualified under the
Act, in the congressional districts selected to receive DCCC's proposed communications. Thus,
the Commission assumes that DCCC's expenditures for these communications will not be made
in cooperation or consultation with any candidate.2 Instead, the Commission views your request
as limited to the situation where expenditures for these communications are made without any
consultation or cooperation, or any request or suggestion of, candidates seeking election to the
House of Representatives in the selected districts.

In this context, the Act's limitations at 2 U.S.C. 441a(d) become relevant since the Commission
has stated that expenditures pursuant to 2 U.S.C. 441a(d) may be made without consultation or
coordination with any candidate and may be made before the party's general election candidates
are nominated. See Advisory Opinion 1984-15.3 This section permits "the national committee of
a political party" to make additional expenditures, subject to certain specific dollar limitations,
"in connection with the general election campaign of a candidate for" the House of
Representatives "who is affiliated with such party." 2 U.S.C. 441a(d)(3).4 A national committee
of a political party, as defined at 2 U.S.C. 431(14), may designate the party's congressional
campaign committee as its agent for purposes of making these expenditures, if such designation
occurs before the designee committee makes the expenditures. See 11 CFR 110.7(a)(4); FEC v.
Democratic Senatorial Campaign Committee, 454 U.S. 27, 28-29 (1981); First General Counsel's
Report, MUR 1460.5
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In Advisory Opinion 1984-15, the Commission considered the application of the limitations of 2
U.S.C. 441a(d) to expenditures for political advertising similar to DCCC's proposed
communications. There, the Commission concluded that the limitations of 441a(d) would apply
where the communication both (1) depicted a clearly identified candidate and (2) conveyed an
electioneering message. See also Advisory Opinion 1978-46. Under the Act and regulations, a
candidate is clearly identified if his or her name or likeness appears or if his or her identity is
apparent by unambiguous reference. 2 U.S.C. 431(18); 11 CFR 106.1(d). Electioneering
messages include statements "designed to urge the public to elect a certain candidate or party."
United States v. United Auto Workers, 352 U.S. 567, 587 (1957); see Advisory Opinion 1984-
62.

Both the "Pliers and Toilet Seats" and the "Crumbling Foundation" scripts offer two alternative
taglines: one referring to "your Republican Congressman" and one referring to "the Republicans
in Congress." You further state that some scripts will also close with a "Vote Democratic"
statement. The Commission concludes that DCCC's expenditures for its proposed radio and
television advertisements (with scripts as set forth in this opinion) that use the tagline, "the
Republicans in Congress," either with or without the "Vote Democratic" statement (or other
electioneering message), will not be subject to the Act's limitations. In addition, the Commission
concludes that DCCC's expenditures for its proposed advertisements that use the tagline, "your
Republican Congressman," without the "Vote Democratic" statement, will also not be subject to
the Act's limitations. Instead DCCC may report these expenditures as operating expenditures.
See 11 CFR 104.3(b). These conclusions also apply where the advertisements are directed to
only selected congressional districts.

With respect to DCCC expenditures for the proposed radio and television advertisements that use
the tagline, "your Republican Congressman," together with the "Vote Democratic" statement, the
Commission considered alternative responses but on a tie vote was unable to agree whether such
expenditures would or would not be subject to the Act's limitations and attributable pursuant to
11 CFR 106.1. See 11 CFR 112.4(a).

With regard to DCCC's proposed sample mailer, the Commission assumes that its references to
"Cong. X" indicate that a specific congressman will be identified by name. The Commission also
assumes that the mailer's dissemination may include part or all of the district represented by the
identified congressman. The Commission concludes that DCCC's expenditures for producing and
disseminating the mailer either with or without the "Vote Democratic" statement will be subject
to the Act's limitations and attributable pursuant to 11 CFR 106.1.

You have indicated that DCCC's proposed program is for the purpose of influencing the 1986
election process and that these activities will be scheduled for approximately the next month and
for September 1985. The Commission emphasizes that this opinion is limited to the timetable
you have specified and does not address the implementation of the same or a similar program at
some later date.

The Commission notes the foregoing discussion responds to the three questions you presented in
your letter dated March 18, 1985.
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This response constitutes an advisory opinion concerning application of the Act, or regulations
prescribed by the Commission, to the specific transaction or activities set forth in your request.
See 2 U.S.C. 437f.

Sincerely yours,

(signed)

John Warren McGarry
Chairman for the Federal Election Commission


Enclosures (AOs 1984-62, 1984-15, 1980-119, and 1978-46)


1. Your request indicates a schedule of April and September 1985, but you also note that this
proposed schedule as to April will be adjusted depending on the timing of the Commission's
response to your request.

2. See 2 U.S.C. 441a(a)(7)(B)(i); 11 CFR 104.3(b) and 104.13(a).

3. This interpretation is consistent with the reporting requirements. Expenditures made under
441a(d) and 11 CFR 110.7 are reported as expenditures by the committee making them. 11 CFR
104.3(b)(3)(viii). The candidate on whose behalf such expenditures are made, however, does not
report these expenditures as contributions. 11 CFR 104.3(a)(3)(iii).

4. Party political committees are incapable of making independent expenditures. 11 CFR
110.7(a)(5) and (b)(4); Advisory Opinions 1984-15 and 1980-119; General Counsel's Report,
MUR 273.

5. For purposes of this advisory opinion, the Commission assumes that DCCC is or will be the
designated agent of the national committee of the Democratic Party for the purpose of making
expenditures pursuant to 2 U.S.C. 441a(d)(3). This expenditure limitation is in addition to the
limitation on contributions by DCCC pursuant to 2 U.S.C. 441a(a)(2)(A). See 11 CFR
110.7(b)(3); H.R. Rep. No. 1057, 94th Cong., 2d Sess. 59 (1976), reprinted in Legislative
History of the Federal Election Campaign Act Amendments of 1976, 1053 (GPO 1977).
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                  EXHIBIT F
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                         UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION


COMMITTEE FOR A FAIR AND                             )
BALANCED MAP, JUDY BIGGERT,                          )
ROBERT J. DOLD, RANDY HULTGREN,                      )
ADAM KINZINGER, DONALD MANZULLO,                     )
PETER J. ROSKAM, BOBBY SCHILLING,                    )
AARON SCHOCK, JOHN M. SHIMKUS,                       )
JOE WALSH, RALPH RANGEL, LOU                         )
SANDOVAL, LUIS SANABRIA,                             )
MICHELLE CABALLERO, EDMUND                           )
BRENZINSKI, and LAURA WAXWEILER                      )
                                                     )
               Plaintiffs,                           )
                                                     )
               v.                                    )       No. 11 C 5065
                                                     )
ILLINOIS STATE BOARD OF ELECTIONS,                   )       Judge John Daniel Tinder
WILLIAM M. MCGUFFAGE,                                )       Judge Robert L. Miller
JESSE R. SMART, BRYAN A. SCHNEIDER,                  )       Judge Joan Humphrey Lefkow
BETTY J. COFFRIN, HAROLD D. BYERS,                   )
JUDITH C. RICE, CHARLES W. SCHOLTZ,                  )
and ERNEST L. GOWEN,                                 )
                                                     )
               Defendants.                           )


                                    OPINION AND ORDER

       This matter is before the court on plaintiffs’ motion to compel enforcement of third party

subpoenas [Dkt. No. 52] and certain non-parties’ motion to quash subpoenas and for a protective

order [Dkt. No. 58]. The motions raise legislative privilege issues rarely addressed by the courts

because they pertain to the redistricting activity that follows each decennial census. For this

reason, this opinion is more lengthy than the typical ruling on discovery issues.
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                                        BACKGROUND

       The United States Constitution requires Illinois lawmakers to redraw the state’s

congressional district boundaries after each decennial census. U.S. CONST. ART. I, § 2; id.

amend. XIV, §§ 1 & 2; id. AMEND. XV; Ryan v. State Bd. of Elections of State of Ill., 661 F.2d

1130, 1132 (7th Cir. 1981). Pursuant to this authority, the Illinois General Assembly drafted,

debated, and passed the Illinois Congressional Redistricting Act of 2011 (the “Redistricting

Act”) (P.A. 97-14). The Redistricting Act eliminates one congressional seat, as required by the

2010 United States Census results, and establishes boundaries for the state’s eighteen remaining

congressional districts.

       Beginning on March 28, 2011, and continuing through May 2, 2011, members of the

Illinois House of Representatives and the Illinois Senate held a series of public hearings at

locations around the state where members of the public were allowed to comment on the

redistricting process. See 10 Ill. Comp. Stat. 125/10-5. On May 27, 2011, the Democratic

leadership of the Illinois House and Senate Redistricting Committees released the congressional

redistricting plan (“2011 Map”) on its website. Three days later, the Illinois House of

Representatives passed the Redistricting Act, and the next day the Illinois Senate followed suit.

On June 24, 2011, the Governor signed the Redistricting Act into law, and the present litigation

ensued.

       The plaintiffs comprise three groups: The Committee for a Fair and Balanced Map, a not-

for-profit organization created by Illinois citizens concerned about the congressional redistricting

process in Illinois; nine Republican Congressmen and one Republican Congresswoman; and six

registered voters, four of whom are identified as Latino and two as Republican (collectively


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“plaintiffs”). The defendants include the Illinois State Board of Elections, the agency charged

with implementing the 2011 Map, and its individual members (collectively “defendants”).

        Plaintiffs allege that the 2011 Map discriminates against Latino and Republican voters,

and they seek to invalidate the redistricting plan in whole or in part. Specifically, plaintiffs

allege that the 2011 Map violates the Voting Rights Act of 1965, 42 U.S.C. § 1973 (“VRA”)

(Count I), the Fourteenth Amendment (Count II) and the Fifteenth Amendment (Count III) by

diluting the voting strength of Latino voters. Plaintiffs also claim that the 2011 Map constitutes

an impermissible racial gerrymander in violation of the Fourteenth Amendment (Count IV) and a

partisan gerrymander in violation the First Amendment (Count V) and Fourteenth Amendment

(Count VI).

        The parties have engaged in expedited discovery. Pursuant to Federal Rule of Civil

Procedure 45, plaintiffs served thirty subpoenas duces tecum1 on a number of non-party entities

and individuals, including the (i) Illinois House of Representatives (through Tim Mapes, Chief

of Staff); (ii) Office of the Speaker of the Illinois House of Representatives (through Tim Mapes,

Chief of Staff); (iii) Illinois House Redistricting Committee (through Barbara Flynn Currie,

Chairperson); (iv) Illinois Senate (through Jillayne Rock, Secretary of the Senate); (v) Office of

the Senate President (through Andrew Manar, Chief of Staff); (vi) Illinois Senate Redistricting

Committee (through Kwame Raoul, Chairperson); and (vii) various legislative staffers with

knowledge of the reapportionment scheme (collectively “Non-Parties”). The subpoenas contain


        1
          The United States District Court for the Central District of Illinois issued twenty-five of the
thirty subpoenas served by plaintiffs because most of subpoenaed witnesses reside in Springfield, Illinois.
The remaining five subpoenas were issued by the United States District Court for the Northern District of
Illinois. According to Non-Parties, the Northern District of Illinois subpoenas capture all of the
documents within the scope of the Central District of Illinois subpoenas, including those possessed by the
Illinois House and Senate Redistricting Committees and individual staff members.

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twenty-one requests for production encompassing documents and communications related to the

2011 Map. Non-Parties refused to comply with plaintiffs’ requests, claiming that legislative

immunity, the deliberative process privilege, the attorney-client privilege and/or the work-

product doctrine protect the documents from disclosure.

       On September 15, 2011, plaintiffs filed a motion to compel enforcement of the third party

subpoenas. The next day, the President of the Illinois Senate, the Speaker of the Illinois House

of Representatives, and the chairpersons of the Illinois House and Senate Redistricting

Committees moved to quash. Each party was allowed to file a response and this three-judge

court heard arguments on September 29, 2011.

                                                ANALYSIS

I.     Relevance of Requested Discovery

       Plaintiffs have served Non-Parties with twenty-one document requests.

       A.        Requested Documents

       Plaintiffs seek a plethora of documents concerning the planning, development,

negotiation, and drawing of the 2011 Map.2 These documents can be broadly categorized as

       2
           Plaintiffs’ document requests include:

           1.    All documents related to the state of Illinois legislative and/or congressional redistricting
                 process which led to the planning, development, negotiation, drawing, revision or re-
                 drawing of the 2011 Map.
           2.    All documents, including, but not limited to, reports, analyses, election results or other
                 election data, and communications pertaining or relating to the planning, development,
                 negotiation, drawing, revision or re-drawing of the 2011 Map.
           3.    All documents regarding any communications, discussions, meetings and/or
                 conversations, pertaining or relating to the planning, development, negotiation, drawing,
                 revision or re-drawing of the 2011 Map with any of the following: Defendants;
                 Democratic Congressional Campaign Committee or anyone else acting on its behalf;
                 Illinois House and Senate Redistricting Committees; any member of the Illinois General
                 Assembly or anyone acting on their behalf; any current or former member of Congress
                                                                                               (continued...)

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               and anyone acting on their behalf; any interest groups that testified at the redistricting
               hearings.
         4.    All documents, communications or other matter, including all data files or other data type
               related to election and/or voter data; election redistricting software; and all 2010 Census
               data used for the purpose of planning and drawing the 2011 Map or any other potential
               congressional plan that was not adopted.
         5.    All documents, communications or other matter, that constitute, refer or relate to data
               files and drafts of data files used to formulate the composition of Districts 3, 4, 5 of the
               2011 Map.
         6.    Any draft drawings of any Districts of the 2011 Map.
         7.    All documents which reflect the identity of any and all persons who assisted in the
               drawing of Districts 3, 4, and 5 of the 2011 Map.
         8.    All documents which reflect when the planning and drawing of Districts 3, 4, and 5 of the
               2011 Map were finalized.
         9.    All documents which reflect the identity of person(s) who made or participated in the
               decision to have the Latino Voting Age Population (“VAP”) in District 3 as 24.64%.
         10.   All documents which reflect the identity of person(s) who made or participated in the
               decision to have the Latino VAP in District 4 as 65.92%.
         11.   All documents which reflect the identity of person(s) who made or participated in the
               decision to have the Latino VAP in District 5 as 16.05%.
         12.   All documents which reflect the identity of any expert or consultant who reviewed,
               commented on, advised or otherwise rendered any advice or opinion concerning the 2011
               Map.
         13.   All documents which reflect the identity of any expert or consultant who conducted any
               racial bloc voting or racial polarization analysis concerning the 2011 Map.
         14.   Documents which reflect any racial bloc voting or racial polarization analysis conducted
               by any expert or consultant.
         15.   All documents or communications pertaining or relating to any analysis, review, study or
               consideration undertaken by any expert, consultant, scholar or other person regarding
               whether the 2011 Map complies with the VRA, the U.S. Constitution, or the Illinois
               Constitution.
         16.   All documents which consist of reports or opinions of any expert or consultant used to
               support the composition of the entire 2011 Map.
         17.   All documents which reflect any and all analysis concerning the viability of drawing two
               Latino congressional Districts, whether the Districts be considered majority or influence
               districts.
         18.   Any engagement letters provided to experts or consultants engaged for the purposes of
               planning, preparing, drawing, and analyzing or providing supporting evidence for the
               2011 Map.
         19.   All records of payment to any experts or consultants.
         20.   All documents identifying any person(s) involved in the decision to post the proposed
               congressional plan on the Illinois Senate website during the early morning hours of May
               27, 2011.
         21.   All documents identifying any person(s) who actually posted the congressional plan on
                                                                                            (continued...)

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(1) information concerning the motives, objectives, plans, reports, and/or procedures used by

lawmakers to draw the 2011 Map;3 (2) information concerning the identities of persons who

participated in decisions regarding the 2011 Map;4 (3) the identities of experts and/or consultants

retained to assist in drafting the 2011 Map and contractual agreements related thereto;5 and (4)

objective facts upon which lawmakers relied in drawing the 2011 Map.6

        B.        Relevancy of Requested Documents

        Under Rule 26 of the Federal Rules of Civil Procedure, parties may obtain discovery of

any nonprivileged matter that is relevant to any party’s claim or defense. Plaintiffs make six

claims related to the 2011 Map. See Compl. ¶¶ 108–38. Proof of discriminatory intent is

required for plaintiffs to prevail on their Fourteenth and Fifteenth Amendment racial

discrimination claims.7 It has also been found sufficient, though not necessary, to sustain a VRA

claim. See United States v. Irvin, 127 F.R.D. 169, 171 (C.D. Cal. 1989) (after the 1982

amendments to the VRA, “plaintiffs may carry their burden by fulfilling either the more

restrictive intent test or the results test”) (internal quotation marks and citations omitted); accord

Garza v. County of Los Angeles, 918 F.2d 763, 771 (9th Cir. 1990).




        2
         (...continued)
                  the Illinois Senate website during the early morning hours of May 27, 2011.
        3
         See Req. Nos. 1–6, 8, 14–17. [Doc. No. 52-1.]
        4
         See Req. Nos. 7, 9–11, 20–21. [Doc. No. 52-1.]
        5
         See Req. Nos. 12–13, 18–19. [Doc. No. 52-1.]
        6
            See Req. Nos. 2 & 4. [Doc. No. 52-1.]
        7
         The test for plaintiffs’ partisan gerrymandering claims is unsettled. See Vieth v. Jubelirer, 541
U.S. 267, 124 S. Ct. 1769, 158 L. Ed. 2d 546 (2004).

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       To demonstrate intentional discrimination, however, plaintiffs need not offer direct

evidence of discriminatory intent. Direct evidence includes statements made by the decision

making body or members thereto. See, e.g., ACORN v. County of Nassau, No. 05-2301,

2007 WL 2815810, at *3 (E.D.N.Y. Sept. 25, 2007) (ACORN I) (“testimony regarding a

legislator’s stated motivation might be the most direct form of evidence” of discriminatory

intent.) Instead, plaintiffs may rely on circumstantial evidence to show that lawmakers

purposefully discriminated against Latino and/or Republican voters in enacting the 2011 Map.

See Ketchum v. Byrne, 740 F.2d 1398, 1406 (7th Cir. 1984) (“In Rogers, the [Supreme] Court

affirmed the district court’s finding of intentional discrimination based on indirect and

circumstantial evidence and endorsed its reliance on a ‘totality of the circumstances’ approach.”)

(citing Rogers v. Lodge, 458 U.S. 613, 622–27, 102 S. Ct. 3272, 73 L. Ed. 2d 1012 (1982)).

       For example, to evaluate claims of racial vote dilution under the Fourteenth Amendment,

courts rely on the totality of the circumstances test. See Rogers, 458 U.S. at 618. Under this

test, courts may infer discriminatory intent from a variety of circumstantial factors. These

factors include, but are not limited to, bloc voting along racial lines; low minority voter

registration; exclusion from the political process; unresponsiveness of elected officials to needs

of minorities; and depressed socio-economic status attributable to inferior education and

employment and housing discrimination. Ketchum, 740 F.2d at 1406 (citing Rogers, 458 U.S. at

622–27). Other factors include the historical background of the decision; the specific sequence

of events leading up to the challenged decision; departures from the normal procedural sequence;

minority retrogression (i.e. a decrease in the voting strength of a cohesive voting bloc over time);

and manipulation of district boundaries to adjust the relative size of minority groups, including


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the “packing” of minority voters. See Village of Arlington Heights v. Metro. Housing Dev.

Corp., 429 U.S. 252, 267–68, 97 S. Ct. 555, 50 L. Ed. 2d 450 (1977); Rybicki v. State Bd. of

Elections, 574 F. Supp. 1082, 1108–12 (N.D. Ill. 1982). Thus, under the totality of the

circumstances test, the court may infer an “invidious discriminatory purpose . . . from the totality

of the relevant facts,” including the discriminatory effect of the redistricting scheme. Rogers,

458 U.S. at 618 (citation omitted).

       Plaintiffs allege many of these circumstantial factors in their Complaint. See Compl. ¶¶

38–45 (events leading up to enactment); ¶ 60 (history of discrimination); ¶¶ 52–54 (manipulating

district boundaries); ¶ 57 (racial polarization of elections). Yet many of plaintiffs’ document

requests solicit direct, not circumstantial, evidence of legislative intent, by demanding

documents that contain communications between lawmakers and their staff. See, e.g., Req. Nos.

1–5 & 8. These documents are likely to contain the motives, impressions and/or opinions of

those responsible for drafting the 2011 Map. Other requests seek the identities of those who

made or participated in key decisions, suggesting an attempt by plaintiffs to gain insight to the

thought processes of these individuals, if not now, then perhaps later through depositions. See,

e.g., Req. Nos. 7, 9–13.

       To be sure, statements made by members of the decision-making body are relevant to

show discriminatory intent. See Village of Arlington Heights, 429 U.S. at 268. But this is but

one factor among many that plaintiffs may use to prove their claims. As acknowledged by the

Supreme Court,

       Inquiries into congressional motives or purposes are a hazardous matter. When the
       issue is simply the interpretation of legislation, the Court will look to statements by
       legislators for guidance as to the purpose of the legislature, because the benefit to
       sound decision-making in this circumstance is thought sufficient to risk the

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       possibility of misreading Congress’ purpose. It is entirely a different matter when
       we are asked to void a statute that is, under well-settled criteria, constitutional on its
       face, on the basis of what fewer than a handful of Congressmen said about it. What
       motivates one legislator to make a speech about a statute is not necessarily what
       motivates scores of others to enact it, and the stakes are sufficiently high for us to
       eschew guesswork.

Hunter v. Underwood, 471 U.S. 222, 228, 105 S. Ct. 1916, 85 L. Ed. 2d 222 (1985) (quoting

United States v. O’Brien, 391 U.S. 367, 383–84, 88 S. Ct. 1673, 1682–1683, 20 L. Ed. 2d 672

(1968)); see also Palmer v. Thompson, 403 U.S. 217, 224, 91 S. Ct. 1940, 29 L. Ed. 2d 438

(1971) (“no case in this Court has held that a legislative act may violate equal protection solely

because of the motivations of the men who voted for it”); Hispanic Coalition on

Reapportionment v. Legislative Reapportionment Comm., 536 F. Supp 578, 586 (D. Pa. 1982)

(holding that discriminatory statements made by the chairman of a city redistricting committee

were insufficient to prove discriminatory intent absent a showing that the state legislative body

adopted the chairman’s views). Thus, the individual motivations and objectives of those who

drafted the 2011 Map, although relevant, are not critical to the outcome of this case.

       The remainder of plaintiffs’ document requests pertain to facts, plans, reports or

procedures created, formulated or used by lawmakers to draft the 2011 Map. Objective facts,

such as United States Census reports and election returns, are highly relevant to plaintiffs’ claims

and necessary to prove many of the totality of the circumstances factors, including racial bloc

voting, retrogression and manipulation of district boundaries. The actual facts upon which

lawmakers relied, however, are less relevant because they say little as to whether the overall

effect of the 2011 Map is discriminatory. Lawmakers may have considered a lot of facts and

drawn a discriminatory map, or considered no facts and drawn a perfectly constitutional map.

The proof, so they say, is in the pudding; and the pudding is the 2011 Map.

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       Finally, to the extent that the plans, reports and procedures used by lawmakers to draw

the 2011 Map shed light on the sequence of events leading up to its enactment, this information

may be relevant to plaintiffs’ claims. The most important events, however, are those undertaken

by the legislative body, such as public hearings, committee meetings and floor debates. The

deliberations of individual lawmakers, even those who helped draw the 2011 Map, are less

probative of the totality of the circumstances test. Nevertheless, because most of plaintiffs’

requests seek material relevant within Rule 26, the court will consider whether any of these

documents are privileged from disclosure.

II.    Identification of Nonprivileged Matter

       The issue before this court is the extent to which legislative immunity shields non-party

state lawmakers from providing evidence in a civil lawsuit related to their legislative activities.

Plaintiffs argue that the privilege is qualified and narrow. Non-Parties argue that it is absolute.

       A.      Absolute Legislative Immunity

       The Speech or Debate Clause of the United States Constitution grants federal lawmakers

absolute legislative immunity from civil suit for their legitimate legislative activities. The Clause

states that “for any Speech or Debate in either House,” Senators and Representatives “shall not

be questioned in any other Place.” U.S. CONST. ART. I, § 6, cl. 1. When applied, this provision

shields federal lawmakers “engaged in the sphere of legitimate legislative activity” from being

sued for prospective relief or damages. Supreme Ct. of Va. v. Consumers Union of U.S.,

446 U.S. 719, 732, 100 S. Ct. 1967, 64 L. Ed. 2d 641 (1980) (quoting Tenney v. Branhove,

341 U.S. 367, 376, 71 S. Ct. 783, 95 L. Ed. 1019 (1951)). It also mandates an evidentiary

privilege that prevents the legislative acts of a member of Congress from being used against him


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or her in court. See United States v. Helstoski, 442 U.S. 477, 488–89, 99 S. Ct. 2432, 61 L. Ed.

2d 12 (1979). Finally, it provides a testimonial privilege that protects a member or the member’s

aides from judicial questioning regarding the member’s legislative acts. Gravel v. United States,

408 U.S. 606, 616, 92 S. Ct. 2614, 33 L. Ed. 2d 583 (1972). “In sum, the Speech or Debate

Clause prohibits inquiry . . . into those things generally said or done in the House or the Senate

in the performance of official duties and into the motivation for those acts.” United States v.

Brewster, 408 U.S. 501, 512, 92 S. Ct. 2531, 33 L. Ed. 2d 507 (1972).

        The Speech or Debate Clause, by its terms, does not apply at all to state and local

legislators. See, e.g., Fla. Ass’n of Rehab. Fac., Inc. v. State of Fla. Dep’t of Health & Rehab.

Servs., 164 F.R.D. 257, 266 (N.D. Fla. 1995). Instead, the federal common law applies.8

Applying the federal common law, the Supreme Court in Tenney held that members of a state

legislative committee were immune from civil liability for allegedly violating an individual’s

civil rights by calling him before the committee to testify in an effort to interfere with his First

Amendment rights. 341 U.S. at 376–77. Since Tenney, it is clear that under the federal common

law “state and local officials are absolutely immune from federal suit for personal damages for

their legitimate legislative activities.” Empress Casino Joliet Corp. v. Blagojevich, 638 F.3d

519, 527 (7th Cir. 2011) (citations omitted), partially vacated and decided on unrelated grounds

by Empress Casino Joliet Corp. v. Balmoral Racing Club, Inc., 651 F3d 799 (7th Cir. 2011); see

also Tenney, 341 U.S. at 376–77. This immunity also extends to “legislative staff members,

officers, or other employees of a legislative body, although it is considered less absolute as


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          This case presents federal questions and therefore the federal common law applies. Fed. R.
Evid. 501; see generally 3 WEINSTEIN’S EVIDENCE § 501.02[2][b][i] (1997) (in federal question cases,
federal privilege law, rather than the privilege law of the forum state, generally applies).

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applied to these individuals.” Marylanders for Fair Representation, Inc. v. Schaefer, 144 F.R.D.

292, 298 (D. Md. 1992) (internal quotation marks and citations omitted).

       The scope of the federal common law is not entirely settled, however. The Supreme

Court has held that in a federal criminal prosecution, a state legislator did not have an absolute

evidentiary privilege based in legislative immunity from introduction of evidence of his

legislative acts. United States v. Gillock, 445 U.S. 360, 373, 100 S. Ct. 1185, 63 L. Ed. 2d 454

(1980). Gillock carved out an exception from Tenney, reasoning that “the cases in this court

which have recognized an immunity from civil suit for state officials have presumed the

existence of federal criminal liability as a restraining factor on the conduct of state officials.”

445 U.S. at 372. See Fla. Ass’n of Rehab. Fac., Inc, 164 F.R.D. at 267 (“legislators and some of

their staff members may be immune to civil process in a suit directly against them . . . [but this

immunity] is not an evidentiary privilege”).

       Since Gillock, a number of courts have “rejected the notion that the common law

immunity of state legislators gives rise to a general evidentiary privilege.” Manzi v. DiCarlo,

982 F. Supp. 125, 129 (E.D.N.Y. 1997) (citations omitted); see Cano v. Davis, 193 F. Supp. 2d

1177, 1180 (C.D. Cal. 2002) (“state legislators do not enjoy the type of absolute protection

afforded members of the Congress under the Speech or Debate Clause”); In re Grand Jury,

821 F.2d 946, 957 (3d Cir. 1987) (“Neither the threat of harassment, the dangers of distraction,

nor the potential disruption of confidential communications justifies a qualified privilege for the

full range of legislative activities normally protected by the Speech or Debate Clause.”).

       The issue before this court is whether common law legislative immunity absolutely

shields non-party state lawmakers from providing evidence in a civil lawsuit related to their


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legislative activities. Given the federal interests at stake in redistricting cases, this court

concludes that common law legislative immunity does not entirely shield Non-Parties here. In

Gillock, the Supreme Court noted that “where important federal interests are at stake, such as in

the enforcement of federal criminal statutes, comity yields.” 445 U.S. at 373. The federal

government’s interest in enforcing voting rights statutes is, without question, important. See,

e.g., Irvin, 127 F.R.D. at 174 (“The federal interest in the present case is compelling. The

Voting Rights Act forbids local practices that abridge the fundamental right to vote. This Act

requires vigorous and searching federal enforcement.”); Bartlett v. Strickland, 556 U.S. 1, ----,

129 S. Ct. 1231, 1240, 173 L. Ed. 2d 173 (2009) (“Passage of the Voting Rights Act of 1965 was

an important step in the struggle to end discriminatory treatment of minorities who seek to

exercise one of the most fundamental rights of our citizens: the right to vote.”). Voting rights

cases, although brought by private parties, seek to vindicate public rights. In this respect, they

are akin to criminal prosecutions. Thus, much as in Gillock, “recognition of an evidentiary

privilege for state legislators for their legislative acts would impair the legitimate interest of the

Federal government.” Gillock, 445 U.S. at 373.

        Moreover, the Supreme Court has stated that evidentiary privileges must be “strictly

construed” and accepted “only to the very limited extent that permitting a refusal to testify or

excluding relevant evidence has a public good transcending the normally predominant principle

of utilizing all rational means for ascertaining truth.” Trammel v. United States, 445 U.S. 40, 50,

100 S. Ct. 906, 63 L. Ed. 2d 186 (1980) (citation omitted). This court therefore does not find in

the common law an absolute immunity for non-party state lawmakers that protects them from




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producing documents in federal redistricting cases. Instead, Non-Parties’ privilege claims are

best analyzed under the doctrine of legislative privilege.

         B.     Legislative Privilege

         Other courts in different contexts have applied a qualified legislative privilege to protect

state lawmakers from producing documents related to their legislative activities. This privilege

is similar to the deliberative process privilege, which is also qualified, but the deliberative

process privilege applies to the executive branch, not the legislature. The legislative privilege

does not shield lawmakers from being sued, but rather protects them from producing documents

in certain cases. See Lindley v. Life Ins. Co. of Am., No. 08-CV-379, 2009 WL 2245565, at *9

(N.D. Okla. Jul. 24, 2009) (“Generally, legislators’ immunity from suit is referred to as

‘legislative immunity,’ and the evidentiary privilege accorded legislators is referred to as the

‘legislative privilege.’”). Under the federal common law, legislative privilege is qualified, not

absolute, and may be overcome by a showing of need. In re Grand Jury, 821 F.2d at 958;

Joseph’s House & Shelter, Inc. v. City of Troy, N.Y., 641 F. Supp. 2d 154, 158 n.3 (N.D.N.Y.

2009).

         In determining whether and to what extent a state lawmaker may invoke legislative

privilege, the court will consider the following factors: (i) the relevance of the evidence sought

to be protected; (ii) the availability of other evidence; (iii) the seriousness of the litigation and

the issues involved; (iv) the role of the government in the litigation; and (v) the possibility of

future timidity by government employees who will be forced to recognize that their secrets are

violable. Rodriguez v. Pataki, 280 F. Supp. 2d 89, 101 (S.D.N.Y. 2003) (citing In re Franklin

Nat’l Bank Secs. Litig., 478 F. Supp. 577, 583 (E.D.N.Y. 1979)); see also ACORN v. County of


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Nassau, No.05-2301, 2009 WL 2923435, at *2 (E.D.N.Y. Sept. 10, 2009) (ACORN II); Joseph’s

House & Shelter, Inc, 641 F. Supp. 2d at 158 n.3. In considering these factors, the court’s goal is

to determine whether the need for disclosure and accurate fact finding outweighs the

legislature’s “need to act free of worry about inquiry into [its] deliberations.” ACORN II, 2009

WL 2923435, at *2 n.2.9

        C.      Balancing of Interests

                1.       The Seriousness of the Litigation and the Issues Involved, and the
                         Role of the Government in the Litigation

        In balancing the relevant interests, the first two factors weigh in favor of disclosure.

There can be little doubt that plaintiffs’ allegations are serious. Plaintiffs raise profound

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           These factors are also used by some courts to evaluate the availability and scope of the
deliberative process privilege. See, e.g., Doe v. Nebraska, Nos. 8:09CV456, 4:09CV3266, 4:10CV3005,
----F. Supp. 2d----, 2011 WL 1480483, at *7 (D. Neb. Apr. 19, 2011). The deliberative process privilege
prohibits discovery of communications that are used by governmental bodies in formulating policy.
United States v. Farley, 11 F.3d 1385, 1389 (7th Cir. 1993). The key difference between the deliberative
process privilege and the legislative privilege is that the former protects executive and administrative
deliberations, and the latter safeguards legislative independence. See Kay v. City of Rancho Palos
Verdes, No. CV 02-3922, 2003 WL 25294710, at *15 (C.D. Cal. Oct. 10, 2003).
          Some courts considering the scope of the deliberative process privilege have applied the same
legislative privilege factors discussed herein. See, e.g, Doe, 2011 WL 1480483, at *7; Kay, 2003 WL
25294710, at *18. In this respect, “the balancing tests that courts have suggested for challenges to both
the legislative privilege and the deliberative process privilege are quite similar and functionally
interchangeable.” Kay, 2003 WL 25294710, at *17 (collecting cases).
          Several cases in the Northern District of Illinois, however, have required a particularized showing
to invoke the deliberative process privilege. See, e.g., Buonauro v. City of Berwyn, No. 08-C-6687, 2011
WL 2110133, at *2 (N.D. Ill. May 25, 2011) (“In order to invoke the privilege, a party must show three
elements: (1) the department head with control over the information has made a formal claim of privilege;
(2) the responsible official must demonstrate, usually by affidavit, the reasons for preserving the
confidentiality of the documents; and, (3) the official must specifically identify and describe the
documents in question.”) (citing Ferrell v. U.S. Dep’t Hous. & Urban Dev., 177 F.R.D. 425, 428 (N.D.
Ill.1998)); see also Parvati Corp. v. City of Oak Forest, No. 08-C-702, 2010 WL 2836739, at *5 (N.D.
Ill. July 19, 2010).
          Because Non-Parties are members of the legislative branch, not the executive branch, and because
they have not made the particularized showing required to invoke the deliberative process privilege, the
deliberative process privilege does not apply. This court will consider cases in other courts analyzing the
deliberative process privilege only to the extent that they bear on the scope of the legislative privilege.


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questions about the legitimacy of the redistricting process and the viability of the 2011 Map.

Moreover, the legislators’ role in the allegedly unlawful conduct is direct. The General

Assembly, through its members, aides and consultants, was primarily responsible for drafting,

revising and approving the 2011 Map. These actions are under scrutiny. This is not, then, “the

usual ‘deliberative process’ case in which a private party challenges governmental action . . . and

the government tries to prevent its decision-making process from being swept up unnecessarily

into [the] public [domain].” United States v. Bd. of Ed. of City of Chicago, 610 F. Supp 695, 700

(N.D. Ill. 1985). Rather, “the decisionmaking process . . . [itself] is the case,” at least to the

extent that plaintiffs allege that the General Assembly intentionally discriminated against Latino

and/or Republican voters. Id. (emphasis in original). The seriousness of the litigation and the

role of Non-Parties militate in favor of disclosure.

                2.      The Relevance of the Evidence Sought to be Protected and the
                        Availability of Other Evidence

        As discussed in Part I.B. the evidence plaintiffs seek is relevant, although it is not central

to the outcome of this case. Moreover, the availability of other evidence favors non-disclosure.

Plaintiffs already have considerable information at their fingertips. This includes public hearing

minutes, special interest group position papers, statements made by lawmakers during debate,

committee reports, press releases, newspaper articles, census reports, registered voter data and

election returns. These documents and data are a matter of public record. As such, these factors

weigh against disclosure.

                3.      The Possibility of Future Timidity by Government Employees

        Finally, the need to encourage frank and honest discussion among lawmakers favors non-

disclosure. Plaintiffs claim that disclosure of the subpoenaed documents will not unduly chill

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legislators in their future communications because Non-Parties are not defendants in the present

litigation and there is little danger that any discovered material would be used against them in a

later criminal prosecution. Plaintiffs also claim that because this case involves redistricting—a

task not oft performed by legislators—permitting discovery will not work to chill the day-to-day

functioning of the legislature.

       The Redistricting Act, however, evolved from the same legislative process as any other

law. Legislators negotiated the law in private and debated it in public. Infrequency is therefore

irrelevant. In addition, the need for confidentiality between lawmakers and their staff is of

utmost importance. Legislators face competing demands from constituents, lobbyists, party

leaders, special interest groups and others. They must be able to confer with one another without

fear of public disclosure.

       In this respect, the legislature is not unlike other branches of government. As noted by

the Third Circuit, a “legislator’s need for confidentiality is similar to the need for confidentiality

in communications between judges, between executive officials, and between a President and his

aides.” In re Grand Jury, 821 F.2d at 957 (citations omitted); see also Certain Complaints

Under Investigation by an Investigating Comm. of the Judicial Council of the Eleventh Circuit,

783 F.2d 1488, 1520 (11th Cir. 1986) (judicial privilege applies where matters under inquiry

implicate communications among a judge and his staff concerning official judicial business such

as “the framing and researching of opinions, orders and rulings”); N.L.R.B. v. Sears, Roebuck &

Co., 421 U.S. 132, 150, 95 S. Ct. 1504, 44 L. Ed. 2d 29 (1975) (executive privilege for agency

officials applies to documents “reflecting advisory opinions, recommendations and deliberations




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comprising part of a process by which governmental decisions and policies are formulated”)

(citation omitted).

       Failure to protect confidential communications between lawmakers and their staff will

not only chill legislative debate, it will also discourage “earnest discussion within governmental

walls.” Doe, 2011 WL 1480483, at *6 (citations omitted). In the redistricting context, full

public disclosure would hinder the ability of party leaders to synthesize competing interests of

constituents, special interest groups and lawmakers, and draw a map that has enough support to

become law. This type of legislative horse trading is an important and undeniable part of the

legislative process.

       Courts have recognized that disclosure of confidential documents concerning intimate

legislative activities should be avoided. See Rodriguez, 280 F. Supp. 2d at 102; Kay, 2003 WL

25294710, at *14. Courts applying this approach have held that a qualified privilege protects

documents “created prior to the passage and implementation [of a bill] that involve opinions,

recommendations or advice about legislative decisions between legislators or between legislators

and their aides.” Doe, 2011 WL 1480483, at *8; see generally City of Las Vegas v. Foley,

747 F.2d 1294, 1297 (9th Cir. 1984) (“The Court prevents inquiry into the motives of legislators

because it recognizes that such inquiries are a hazardous task.”) (citations omitted).

       By limiting privileged documents to those that contain “opinions, recommendations or

advice,” courts have allowed discovery of “documents containing factually based information

used in the decision-making process or disseminated to legislators or committees, such as

committee reports and minutes of meetings.” Id. at *6 (citations omitted). Courts have also

required disclosure of “the materials and information available [to lawmakers] at the time a


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decision was made.” ACORN I, 2007 WL 2815810, at *4 (citing Village of Arlington Heights,

429 U.S. at n.20).

        This approach strikes the proper balance between the need for public accountability and

the desire to avoid future timidity of lawmakers. Although always accountable to the public,

lawmakers must be able to confer in private. This court therefore concludes that the legislative

privilege shields from disclosure pre-decisional, non-factual communications that contain

opinions, recommendations or advice about public policies or possible legislation. It does not

protect facts or information available to lawmakers at the time of their decision.

        In terms of the categories identified above, (1) information concerning the motives,

objectives, plans, reports and/or procedures used by lawmakers to draw the 2011 Map; and (2)

information concerning the identities of persons who participated in decisions regarding the 2011

Map, the need for the information is outweighed by the purposes of the qualified privilege. The

contrary is true of (3) the identities of experts and/or consultants retained to assist in drafting the

2011 Map and contractual agreements related thereto; and (4) objective facts upon which

lawmakers relied in drawing the 2011 Map. Indeed, much of this information is discoverable

under Rule 26(a)(2)(B)(ii) should defendants’ experts chose to rely on it.



        D.      Waiver

        As with any privilege, the legislative privilege can be waived when the parties holding

the privilege share their communications with an outsider. See ACORN I, 2007 WL 2815810, at

*4 (“the legislative privilege may be waived as to communications made in the presence of third

parties”) (citation omitted). “Where a legislative aide or staff member performs functions that


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would be deemed legislative if performed by the legislator himself, the staff member is entitled

to the same privilege that would be available to the legislator.” Id. (citation omitted). Thus,

communications between Non-Parties and their staff retain their privileged status. See id. at *5.

       Communications between Non-Parties and outsiders to the legislative process, however,

do not. This includes lobbyists, members of Congress and the Democratic Congressional

Campaign Committee (“DCCC”). Although these groups may have a heightened interest in the

outcome of the redistricting process, they could not vote for or against the Redistricting Act, nor

did they work for someone who could. As such, the legislative privilege does not apply. See

Rodriguez, 280 F. Supp. 2d at 101 (“a conversation between legislators and knowledgeable

outsiders, such as lobbyists, to mark up legislation [is] a session for which no one could seriously

claim privilege”).

       The same rule applies to experts and/or consultants retained or utilized by Non-Parties to

assist in the redistricting process. “While legislators are certainly free to seek information from

outside sources, they may not assume that every such contact is forever shielded from view. . . .

[A] contrary ruling would allow a legislator to cloak any communication with legislative

privilege by simply retaining an outsider in some capacity.” ACORN I, 2007 WL 2815810, at

*6. Thus, to the extent that Non-Parties relied on reports or recommendations generated by

outside consultants to draft the 2011 Map, they waived their legislative privilege as to these

documents.

       Finally, Non-Parties cannot invoke the privilege as to themselves yet allow others to use

the same information against plaintiffs at trial. See, e.g., Brown v. City of Detroit, 259 F. Supp.

2d 611, 623–24 (E.D. Mich. 2003); Pacific Gas & Elec. Co. v. Lynch, No. C-01-3023, 2002 WL


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32812098, at *3 (N.D. Cal. Aug. 19, 2002). As such, any communications disclosed by Non-

Parties to defendants or their trial experts, upon which defendants or their experts intend to rely,

must be disclosed to plaintiffs. See Fed. R. Civ. P. 26(a)(2)(B)(ii).10

                                                 ORDER

        Plaintiffs’ motion to compel enforcement of third party subpoena [Dkt. No. 52] and

certain non-parties’ motion to quash subpoenas and for a protective order [Dkt. No. 58] are

granted in part and denied in part, respectively. Non-parties are directed to comply with this

order by October 19, 2011, specifically as follows:

        To the extent that plaintiffs seek documents containing the (1) motives, objectives, plans,

reports and/or procedures created, formulated or used by lawmakers to draw the 2011 Map prior

to the passage of the Redistricting Act;11 or (2) identities of persons who participated in decisions

regarding the 2011 Map,12 their requests are denied and the subpoenas are quashed. Plaintiffs

are also prohibited from subpoenaing the aforementioned documents from individual members

of the General Assembly unless the member affirmatively waives his or her legislative privilege

in writing.




        10
           Non-Parties indicated that to the extent the legislative privilege did not shield them from
discovery, they would likely assert attorney-client privilege or work product immunity. This decision
addresses only the legislative privilege raised in the motions. If Non-Parties have a serious basis for
asserting any other privilege, this decision does not foreclose them.
        11
             See Req. Nos. 1– 6, 8, 14–17. [Doc. No. 52-1.]
        12
             See Req. Nos. 7, 9–11, 20–21. [Doc. No. 52-1.]


                                                     21
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       The motion to compel is granted and the motion to quash is denied as to documents

containing objective facts upon which lawmakers relied in drawing the 2011 Map;13 documents

available to members of the General Assembly at the time the Redistricting Act was passed; the

identities of experts and/or consultants retained by Non-Parties to assist in drafting the 2011 Map

and contractual agreements related thereto;14 and any documents that do not contain information

concerning categories (1) or (2) above or to which Non-Parties have waived their legislative

privilege. This order is applicable only to those parties served with subpoenas issued by the

Northern District of Illinois.

       All documents withheld as privileged under this order shall be identified in a privilege

log that contains (1) the name and capacity of each individual from whom or to whom a

document was communicated; (2) the date of the document and attachments; (3) the type of

document; (4) Bates number identification; and (5) a description of the subject matter in

sufficient detail to allow the receiving parties to determine whether the privilege claim should be

challenged. See Petrovic v. City of Chicago, No. 06-C-611, 2007 WL 2410336, at *2 (N.D. Ill.

Aug. 21, 2007).



Enter: October 12, 2011



                                                         ___/s/ John Daniel Tinder_____________
                                                         JUDGE JOHN DANIEL TINDER
                                                         United States Court of Appeals

       13
            See Req. Nos. 2 & 4. [Doc. No. 52-1.]
       14
            See Req. Nos. 12–13, 18–19. [Doc. No. 52-1.]


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                                             for the Seventh Circuit




                                             ____________________________________
                                             JUDGE ROBERT L. MILLER
                                             United States District Court
                                             for the Northern District of Indiana


                                             ____________________________________
                                             JUDGE JOAN HUMPHREY LEFKOW
                                             United States District Court
                                             for the Northern District of Illinois




                                        23
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                 EXHIBIT G
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          1             THE VIDEOGRAPHER:    Recording.
          2             For the record, my name is Jim Ross of
          3    Video Instanter.   I'm am the recording device

          4    operator for this deposition.    My business address
          5    is 161 North Clark Street, Suite 4975, Chicago,
          6    Illinois, 60601.

          7             This deposition is being videotaped
          8    pursuant to Illinois Supreme Court Rule 206 and all

          9    other applicable state and local rules.
         10             We are at 70 West Madison Street, Chicago,

         11    Illinois, Suite 550 (sic) to take the videotaped

         12    deposition of John Shimkus in the matter of the

         13    Committee for a Fair And Balanced Map, et al.,
         14    versus the Illinois State Board of Elections,

         15    et al., case number 11 5065 in the United States

         16    District Court for the Northern District of
         17    Illinois, Eastern Division.

         18             Today's date is September 29th, 2011, and

         19    the time is 10:35 a.m.   This deposition is being
         20    videotaped on behalf of Plaintiff and is being
         21    taken at the instance of Plaintiff.

         22             Would the attorneys present please
         23    introduce themselves for the record?

         24             MR. BRUCE:   Devon Bruce on behalf of -- as
                                                                  1

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          1    Special Assistant Attorney General on behalf of the
          2    Defendants.
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          3               THE VIDEOGRAPHER:   Oh, sorry.
          4               MS. DOUGLAS:   Dana Douglas on behalf of

          5    the Plaintiffs.
          6               MS. LIGHTFOOT:   Lori Lightfoot on behalf
          7    of the Plaintiff and representing Congressman

          8    Shimkus here today.
          9               Just one point of clarification.    This
         10    deposition is not being taken pursuant to any state

         11    court rules.    This is a federal case and is being
         12    taken pursuant to relevant Federal Rules of Civil

         13    Procedure.
         14               MR. BRUCE:   I agree.   And I think the

         15    videographer simply -- the videographer simply

         16    misspoke.

         17               Okay.   Can you swear the witness in,
         18    please?

         19                   (The witness was duly sworn.)

         20               MR. BRUCE:   Let the record reflect that
         21    this is the deposition of Congressman John Shimkus

         22    taken pursuant to notice and agreed to by the

         23    parties.
         24                   CONGRESSMAN JOHN SHIMKUS,
                                                                      2
                    **********         ROUGH ASCII     **********
•




          1    called as a witness herein, having been first duly

          2    sworn, was examined upon oral interrogatories, and
          3    testified as follows:
          4                       DIRECT EXAMINATION

          5    BY MR. BRUCE:
          6        Q.     Congressman, could you please state your
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         14    that you referred to where Congressman Costello
         15    told you what you've told us here today, did that

         16    take place in a single conversation or more than
         17    one conversation?
         18        A.   More than one.

         19        Q.   Okay.    Do you remember how many?
         20        A.   Two or three.    Again, our conversations
         21    are -- are frequent, numerous, every week on the

         22    floor, at different locations.      We -- and -- and we
         23    speak on numerous confidential issues weekly.

         24        Q.   Have you told me everything that you can
                                                                52

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•




          1    remember about what Congressman Costello told you

          2    about the drawing of the map?

          3        A.   No.
          4        Q.   Okay.    What, if any, other conversations
          5    did you have with Congressman Costello about the

          6    drawing of the map?
          7        A.   The --

          8             MS. LIGHTFOOT:   Object to the form.    It's
          9    a slightly different question.

         10    BY THE WITNESS:
         11        A.   The -- Congressman Costello sought the
         12    assistance of the DCCC to initially draw maps.

         13    The -- Congressman Costello told me that more
         14    specific information was not going to be provided
         15    him by the DCCC because they didn't like the

         16    direction that he was going in trying to have a
         17    less partisan map.
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         18             Congressman Costello told me that that is
         19    when Senator Durbin, Congressman Schakowsky, and

         20    John Cullerton took over the process with the help
         21    of the DCCC to draw the map that we have in front
         22    of us.

         23    BY MR. BRUCE:
         24        Q.   Now have I exhausted your recollection of
                                                                53

                    **********      ROUGH ASCII      **********
•




          1    any conversation that you had with Congressman

          2    Costello about the drawing of the map?
          3        A.   This map in front of us, yes.

          4        Q.   Okay.    Did you have any conversation with

          5    Congressman Costello about the drawing of any other

          6    map other than the map that's been labeled as tab 3

          7    which was tasked by the Illinois legislature?
          8        A.   Congressman Costello was working with the
          9    DCCC and shared -- as I said in the previous

         10    answer, parts of what has become this map with --
         11    with gaps in it, that he shared with me.

         12        Q.   Do you have a copy of those with you here
         13    today?

         14        A.   I personally don't have a copy.
         15        Q.   Okay.    Did -- did Congressman Costello
         16    give you any map that was different than the map

         17    which is set forth as Exhibit Number 3?
         18             MS. LIGHTFOOT:   Object to the form.
         19    BY THE WITNESS:

         20        A.   Congressman Costello gave me a map which
         21    has some similarities, but there was opening.      I
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